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                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF DELAWARE


   RYANAIR DAC,                                      §
                                                     §
           Plaintiff,                                §
                                                     §
                                                               Civil Action No. 20-1191-WCB
           v.                                        §
                                                     §
                                                                     FILED UNDER SEAL
   BOOKING HOLDINGS INC.,                            §
   BOOKING.COM B.V., KAYAK                           §
   SOFTWARE CORPORATION,                             §
   PRICELINE.COM LLC, and AGODA                      §
   COMPANY PTE. LTD.,                                §
                                                     §
           Defendants.                               §


                             MEMORANDUM OPINION AND ORDER

           The parties have filed motions for summary judgment and motions to exclude expert

   testimony under Daubert v. Merrell Dow Pharmaceuticals, Inc., 509 U.S. 579 (1993). Plaintiff

   Ryanair DAC (“Ryanair”) has moved for summary judgment that defendants Booking.com BV

   (“Booking.com”) and KAYAK Software Corporation (“KAYAK”) have violated sections

   1030(a)(2)(C) and (a)(5)(C) of the Computer Fraud and Abuse Act (“CFAA”), 18 U.S.C. § 1030;

   for summary judgment on all of Booking.com’s counterclaims; and for the exclusion of the

   testimony of the defendants’ experts Timothy O’Neil-Dunne, Jordan Rae Kelly, and Basil

   Imburgia. Dkt. No. 347. The defendants have moved for summary judgment on all of Ryanair’s

   CFAA claims, Dkt. No. 332, and for the exclusion of the testimony of Ryanair’s experts Iain

   Lopata, Dkt. No. 333, and Anthony Vance, Dkt. No. 334.

      I.        Background

           Ryanair is a low-fare airline based in Ireland that offers flights in Europe and North Africa.

   Defendants Booking.com, Priceline.com LLC (“Priceline”), and Agoda Company Pte. Ltd.

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   (“Agoda”) are online travel companies—also referred to as “Online Travel Agencies,” or

   “OTAs”—that allow consumers to purchase flights, hotel reservations, rental cars, and other travel

   services. Defendant KAYAK is also an online travel company, but the parties characterize it

   differently: the defendants characterize KAYAK as a metasearch engine rather than an OTA;

   Ryanair characterizes KAYAK as an OTA because its users can purchase flights on the KAYAK

   website, creating bookings referred to by the parties as “facilitated bookings,” or via link-out

   bookings, under which KAYAK customers are offered various third parties, including OTAs, to

   use to book their flights. Defendant Booking Holdings, Inc., (“BHI”) is a holding company whose

   subsidiaries include Booking.com, Priceline, Agoda, and KAYAK.

          Ryanair sells tickets through an online site that lists the flights Ryanair offers and the prices

   for those flights and ancillary services. That site is freely accessible to the public. Ryanair has

   implemented a password-protected portion of the website, entitled “myRyanair.” To create a

   myRyanair account, a customer can either sign up with an email and select a password, or sign up

   with an existing Google, Facebook, or PayPal account. Accounts are generally freely available

   unless the email domain used for registration is associated with a “blacklist” of domains

   maintained by Ryanair, in which case the request to create a myRyanair account is denied.

          To purchase a ticket on a particular flight, a customer is directed either to create a

   myRyanair account or to log in to an existing myRyanair account. A customer can select a flight

   and various ancillary products and services (e.g., a checked bag, trip insurance, etc.) without

   logging into myRyanair; however, a customer cannot reach the payment page and check out

   without having a myRyanair account.

          During the period at issue in this case, the defendants offered customers the opportunity to

   purchase Ryanair flights from the defendants’ websites. The defendants contracted with vendors



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   who obtained Ryanair’s flight information from Ryanair’s website and provided that information

   to the defendants. The defendants would then display the available Ryanair flights on their

   websites. If a customer elected to purchase a ticket on one of those flights, the defendants would

   direct the customer’s request to one of the vendors, which would then purchase the ticket and

   provide the necessary information regarding the booked flight to the customer.

          The defendants’ information about the available Ryanair flights was obtained mainly

   through what is referred to as “screen scraping,” that is, using programs, often referred to as “bots,”

   that are designed to copy data from the web page’s visual interface. Ryanair has accused the

   defendants of obtaining data from Ryanair’s website, either directly or through their vendors, and

   using that data to sell Ryanair tickets to customers.

          Ryanair has objected to the practice of screen scraping and has taken measures to try to

   prevent it. First, Ryanair has sent cease-and-desist letters to the defendants demanding that they

   stop the practice. Second, Ryanair has used a program known as “Shield” in an effort to block the

   defendants and their vendors from obtaining access to Ryanair’s websites and from obtaining data

   from those websites to use in selling Ryanair tickets. Shield uses several strategies to block

   inquiries from IP addresses that it associates with OTA bot activity. However, Ryanair’s efforts

   to prevent OTAs from accessing the Ryanair website have proved only partially successful.

          In 2020, Ryanair filed this action in an effort to prevent further screen-scraping activities

   by the defendants and parties acting in concert with the defendants. In its complaint, Ryanair

   premised its claim of liability on the CFAA and sought damages and injunctive relief based on the

   defendants’ alleged violations of that statute.       The defendants moved for judgment on the

   pleadings, and in October 2022 I denied that motion. See Dkt. No. 105. The defendants then filed

   an amended answer and counterclaims charging Ryanair with tortious interference with business



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   relations, unfair competition, defamation, trade libel, and deceptive trade practices, all related to

   the disputes over the defendants’ activities in accessing the Ryanair website and obtaining flight

   information from that website.

             Following discovery, both sides have filed summary judgment motions directed to various

   of the claims and counterclaims.

       II.      Legal Standard

             The court “shall grant summary judgment if the movant shows that there is no genuine

   dispute as to any material fact and the movant is entitled to judgment as a matter of law.” Fed. R.

   Civ. P. 56(a).

             On an issue as to which the nonmoving party bears the burden of proof at trial, the party

   seeking summary judgment “bears the initial responsibility of informing the district court of the

   basis for its motion, and identifying those portions of ‘the pleadings, depositions, answers to

   interrogatories, and admissions on file, together with the affidavits, if any,’ which it believes

   demonstrate the absence of a genuine issue of material fact.” Celotex Corp. v. Catrett, 477 U.S.

   317, 323 (1986) (quoting Fed. R. Civ. P. 56(c) as of 1986). The burden on the nonmoving party

   in that situation can be satisfied by “showing,” that is, by “pointing out to the district court . . . that

   there is an absence of evidence to support the nonmoving party's case.” Id. at 325. If the moving

   party carries its burden, the nonmovant must “come forward with specific facts showing that there

   is a genuine issue for trial.” Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 587

   (1986) (cleaned up).

             On an issue as to which the moving party bears the burden of proof at trial, the party seeking

   summary judgment must “establish the absence of a genuine factual issue.” Resol. Tr. Corp. v.

   Gill, 960 F.2d 336, 340 (3d Cir. 1992). If the motion does not persuasively establish that no factual



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   issue exists, summary judgment should be denied “even if no opposing evidentiary matter is

   presented.” Id. Once the moving party with the burden of proof makes a showing that there is no

   genuine factual issue, that party is entitled to summary judgment “unless the non-moving party

   comes forward with probative evidence that would demonstrate the existence of a triable issue of

   fact.” In re Bressman, 327 F.3d 229, 238 (3d Cir. 2003); see Celotex, 477 U.S. at 322–23;

   Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 250 (1986).

      III.      Motions for Summary Judgment on the CFAA Claims

             Ryanair has four pending claims under the CFAA:

             Count I alleges that all defendants violated section 1030(a)(2)(C), which prohibits

   “intentionally access[ing] a computer without authorization or exceed[ing] authorized access, and

   thereby obtain[ing] information from any protected computer.”

             Count II alleges that all defendants violated section 1030(a)(4), which prohibits

   “knowingly and with intent to defraud, access[ing] a protected computer without authorization, or

   exceed[ing] authorized access, and by means of such conduct further[ing] the intended fraud and

   obtain[ing] anything of value, unless the object of the fraud and the thing obtained consists only

   of the use of the computer and the value of such use is not more than $5,000 in any 1-year period.”

             Count IV alleges that all defendants violated section 1030(a)(5)(B) and (C): section

   1030(a)(5)(B) prohibits “intentionally access[ing] a protected computer without authorization, and

   as a result of such conduct, recklessly caus[ing] damage”; and section 1030(a)(5)(C) prohibits

   “intentionally access[ing] a protected computer without authorization, and as a result of such

   conduct, recklessly caus[ing] damage and loss.”

             Count V alleges that all defendants violated section 1030(b), which prohibits conspiring or

   attempting to commit a violation of any of the other provisions of section 1030(a).



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          Ryanair argues that the court should enter summary judgment against defendants

   Booking.com and KAYAK on counts I and IV on the ground that the evidence conclusively

   establishes each element of those violations.

          For their part, the defendants contend that the court should enter summary judgment against

   Ryanair on all four counts, for several reasons. With respect to all four counts, the defendants

   argue: (1) that they have not accessed Ryanair’s website in violation of the CFAA; (2) that they

   are not vicariously liable for the acts of the third-party vendors who have accessed Ryanair’s

   website; (3) that Ryanair cannot establish that the defendants’ third-party vendors have accessed

   Ryanair’s website “without authorization,” or “in excess of authorization,” as required by various

   paragraphs of subsection 1030(a) of the CFAA; and (4) that Ryanair cannot establish that the

   defendants have caused $5,000 or more of “loss” to Ryanair in any one-year period, as required

   by subsection 1030(g) of the CFAA. Regarding Count V, the defendants argue that there is no

   evidence to support Ryanair’s allegation that the defendants are parties to a conspiracy to violate

   the CFAA, in violation of subsection 1030(b) of the CFAA. And with regard to Count II, the

   defendants argue that there is no evidence that they had knowing access to information protected

   by the CFAA or that they acted any point with the intent to defraud in violation of paragraph (4)

   of subsection 1030(a) of the CFAA.

              A. Without Authorization

          A critical question regarding the scope of liability under the CFAA is the meaning of the

   term “without authorization,” which appears in several provisions of the statute, including the

   provisions asserted against the defendants in this case. While determining the meaning of that

   term might appear to be straightforward, that turns out not to be the case. The Supreme Court

   addressed the meaning of “authorization” in Van Buren v. United States, 593 U.S. 374 (2021), but



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   even with the benefit of the Supreme Court’s guidance in that case, the lower courts have continued

   to wrestle with the issue.

          I addressed the CFAA’s conception of authorization in some detail in my order on the

   defendants’ motion to dismiss. See Dkt. No. 105 at 21–25. As I explained there, Van Buren and

   its progeny make clear that for an intrusion into a website to be deemed “without authorization,”

   some sort of authentication mechanism (such as the use of a username and password) must be

   employed to limit access to the website or to a pertinent portion of the website. If the information

   on the website is publicly available, i.e., if it is not protected by some such authentication

   mechanism, accessing the website does not violate the statute, even if the access is contrary to the

   website owner’s terms of use governing access to the website or in defiance of a specific directive

   from the website owner, such as a cease-and-desist letter. Id. at 23–24.

          Even with that much settled, the parties disagree about how those principles apply to the

   facts of this case. Ryanair argues that the defendants are not authorized to access any portion of

   the Ryanair website because Ryanair has erected barriers to access such that the defendants’

   activities on the Ryanair website are “without authorization” within the meaning of the CFAA. In

   the alternative, Ryanair argues that the defendants have either acted without authorization or have

   exceeded the scope of their authorized access to the Ryanair website by accessing the myRyanair

   portion of the website, which requires the user to open an account and select a password in order

   to gain access. Dkt. No. 348 at 21–25. The defendants respond that the Ryanair website in its

   entirety, including the myRyanair portion of the website, is open to the public and that by accessing

   the website, even against Ryanair’s wishes, they are not acting “without authorization” or by

   “exceed[ing] authorized access.” For that reason, the defendants contend that they cannot be held

   liable for violating any provision of the CFAA. Dkt. No. 335 at 24–27.



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                       i. The Ryanair Website

          Ryanair first argues that the defendants are not authorized to access any portion of the

   Ryanair website because Ryanair has sent cease-and-desist letters to the defendants directing them

   to stop their screen-scraping activities, and because Ryanair’s “Shield” program is designed to

   block the defendants’ bots from gaining access to the website. 1 Ryanair points to      “endpoints”

   at which Shield prevents access by unauthorized users.




                                            See Dkt. No. 348 at 22–23.        Ryanair argues that by

   circumventing these authentication mechanisms, the defendants have accessed the website without

   authorization.

          The defendants do not dispute Ryanair’s characterization of how Shield operates. Rather,

   they argue that Ryanair’s website is open to the public and that access to the website does not

   require authorization. Because no authorization is required to access a public website, the

   defendants contend that any efforts by the website owner to prevent particular users from accessing



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             The defendants note that for the most part they do not directly access the Ryanair website.
   Because access to the website is principally done by their contracting partners and others, the
   defendants contend that they are not liable under the CFAA, either directly or vicariously. I
   address that argument below. For the purpose of the “without authorization” argument, however,
   I will assume that the contractors’ acts are attributable to the defendants.
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   such a website “are bans of particular users, not authentication mechanisms required to create an

   authorization framework subject to the CFAA.” Dkt. No. 371 at 18. As such, the defendants

   contend, employing technological measures to block specific users or suspicious activity “does not

   create an ‘authorization’ framework absent authentication in the first place.” Id. at 22. Instead,

   the defendants argue, there must be an affirmative “code-based authorization framework” to

   trigger CFAA liability; if a website is open to the public, it is not enough that the website owner

   purports to create an access restriction through a contractual agreement or term of service. Id. at

   23.

          It is undisputed that any member of the public can freely access the general Ryanair website

   unless the user’s IP address is on Shield’s blacklist or the user fails at a Shield endpoint based on

   the user’s behavior, i.e., if Shield identifies the user’s behavior as “bot-like.” For that reason,

   whether the user’s access is “without authorization” turns on whether Shield’s endpoint tests and

   its blacklist are properly viewed as authentication mechanisms that grant qualifying users access

   to a private website, as opposed to devices that selectively ban users from a website that is

   generally open to the public.

          The Supreme Court in Van Buren used a “gates-up-or-down” metaphor in its analysis of

   the terms “without authorization” and “exceeds authorized access” in the CFAA. 593 U.S. at 390.

   As the Court explained, “one either can or cannot access a computer system, and one either can or

   cannot access certain areas within the system.” Id. As such, the Court rejected the dissent’s

   contention that “authorization” within the meaning of the CFAA requires “a circumstance-specific

   analysis.” Id. at 391 n.10.

          Applying the “gates-up-or-down” metaphor used by the Court in Van Buren, the Ninth

   Circuit in hiQ Labs, Inc. v. LinkedIn Corp., 31 F.4th 1180 (9th Cir. 2022), held that a publicly



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   available webpage has “no gates to lift or lower in the first place,” so the concept of access that is

   without authorization “does not apply to public websites.” Id. at 1199. The court explained that

   “[a]uthorization is an affirmative notion, indicating that access is restricted to those specially

   recognized or admitted.” Id. at 1195–96. On a publicly available website where “the default is

   free access without authorization,” the court noted, the selective denial of access to some users is

   best characterized as a ban, not the absence of authorization. Id. at 1196.

          The facts of hiQ are similar to the facts of this case, as applied to the general Ryanair

   website. The issue in hiQ was whether LinkedIn, the professional networking website, could

   prevent a competitor, hiQ Labs, from collecting and using information that LinkedIn users had

   shared on their public profiles displayed on LinkedIn’s website. Like Ryanair, LinkedIn sent a

   cease-and-desist letter to hiQ and used anti-bot measures to prevent hiQ from scraping data from

   LinkedIn’s website. The dispute ultimately resulted in litigation. Among the issues before the

   court was whether hiQ’s further scraping and use of LinkedIn’s data was “without authorization”

   within the meaning of the CFAA.

          The court viewed the relevant statutory phrase “accesses a computer without authorization”

   to suggest “a baseline in which access is not generally available and so permission is ordinarily

   required.” Id. at 1195. By contrast, the court explained, “[w]here the default is free access without

   authorization, in ordinary parlance one would characterize selective denial of access as a ban, not

   as a lack of ‘authorization.’” Id. at 1196. Again invoking the “gates-up-or-down” metaphor from

   Van Buren, the hiQ Labs court concluded that in the case of computers that are not open to the

   general public, the gates are either up or down depending on whether authorization for access has

   been given to a particular user. In the case of a computer hosting publicly available webpages,




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   however, the court concluded that the “computer has erected no gates to lift or lower in the first

   place,” so that “the concept of ‘without authorization’ does not apply.” Id. at 1199.

          Based on that analysis, the court in hiQ Labs rejected LinkedIn’s argument that its anti-bot

   technological measures meant that its websites were not open to the general public. Instead, the

   court stated that it was likely that “when a computer network generally permits public access to its

   data, a user’s accessing that publicly available data will not constitute access without authorization

   under the CFAA.” Id. at 1201. The court therefore found that LinkedIn’s public profiles (i.e.,

   profiles that are visible to a user without the need for the user to be logged in to LinkedIn) do not

   fall within the reach of the CFAA. Id.; see also Meta Platforms, Inc. v. BrandTotal Ltd., 605 F.

   Supp. 3d 1218, 1262 (N.D. Cal. 2022) (“Where a website is made available to the public without

   any authentication requirement at least in the first instance, the concept of ‘without authorization’

   does not apply, even if the owner employs technological measures to block specific users,

   suspicious activity, or—as here—repeated access beyond a particular threshold.”) (cleaned up)).

          Ryanair urges this court not to adopt the Ninth Circuit’s approach in hiQ Labs, arguing that

   the court in hiQ Labs construed the CFAA too narrowly and that hiQ Labs can be disregarded as

   an “out-of-circuit” case. Dkt. No. 380 at 8. But the Ninth Circuit’s thorough analysis in hiQ Labs

   is convincing, and it is consistent the Supreme Court’s treatment of the CFAA in Van Buren.

   Ryanair points to no contrary appellate authority, and instead relies on a district court decision,

   CouponCabin LLC v. Savings.com, Inc., No. 2:14-CV-39, 2016 WL 3181826 (N.D. Ind. June 8,

   2016), which predated both Van Buren and hiQ Labs. The court in CouponCabin defined “without

   authorization” to mean acting “without formal permission or approval.” Id. at *3. That court’s

   analysis diverged from the Ninth Circuit’s by concluding that a plaintiff can render a user’s access




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   to a public website “without authorization” by notification or by implementing technological

   measures to block the user. Id. at *4.

          The legislative history of the CFAA favors the Ninth Circuit’s narrower interpretation of

   the term “authorization.” The Ninth Circuit helpfully summarized that history:

                   We . . . look to whether the conduct at issue is analogous to “breaking and
          entering.” H.R. Rep. No. 98-894, at 20. Significantly, the version of the CFAA
          initially enacted in 1984 was limited to a narrow range of computers—namely,
          those containing national security information or financial data and those operated
          by or on behalf of the government. See Counterfeit Access Device and Computer
          Fraud and Abuse Act of 1984, Pub. L. No. 98-473, § 2102, 98 Stat. 2190, 2190–91.
          None of the computers to which the CFAA initially applied were accessible to the
          general public; affirmative authorization of some kind was presumptively required.
                   When section 1030(a)(2)(C) was added in 1996 to extend the prohibition on
          unauthorized access to any “protected computer,” the Senate Judiciary Committee
          explained that the amendment was designed “to increase protection for the privacy
          and confidentiality of computer information.” S. Rep. No. 104-357, at 7. The
          legislative history of section 1030 thus makes clear that the prohibition on
          unauthorized access is properly understood to apply only to private information—
          information delineated as private through use of a permission requirement of some
          sort.

   hiQ Labs, 31 F. 4th at 1197 (footnote omitted).

          At the end of the day, the Ninth Circuit concluded that a business cannot transform a public

   website into a private one for purposes of the CFAA by implementing a ban on some users based

   on their perceived use of the website for commercial gain. The court added that the rule of lenity

   that applies in interpreting criminal statutes favors a narrower interpretation of the term “without

   authorization,” considering that “[t]he statutory prohibition on unauthorized access [applies] both

   to civil actions and to criminal prosecutions.” Id. at 1200; see also Meta Platforms, 605 F. Supp.

   3d at 1260.

          Ryanair argues that the Ninth Circuit’s interpretation of the CFAA in hiQ Labs is

   inconsistent with other provisions of the statute. In particular, Ryanair argues that the suggestion

   that authorization means that “access is restricted to those specially recognized or admitted” is at

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   odds with the proposition that attacks designed to disrupt another computer violate section

   1030(a)(5)(A) because “the perpetrators of [such] attacks are never specially recognized or

   admitted to carry them out, yet they access a protected computer nonetheless.” Dkt. No. 380 at 9.

          Those propositions are not incompatible. A defendant violates section 1030(a)(5)(A) when

   he “knowingly causes the transmission of a program, information, code, or command, and as a

   result of such conduct, intentionally causes damage without authorization, to a protected

   computer.” That offense can be committed regardless of whether the defendant was authorized to

   access the targeted computer. What matters for purposes of section 1030(a)(5)(A) is whether the

   defendant was authorized to commit one of the specified acts that damaged the protected computer.

          Ryanair contends that its Shield program is an affirmative authorization mechanism

   because Shield monitors every user of Ryanair’s website to determine whether the user is

   authorized based on the user’s “Shield score.” Dkt. No. 380 at 9 (citing Declaration of John

   Hemann (“Hemann Decl.”), Dkt. No. 343, Exh. 5 at 33:18-35:19; Hemann Decl. Ex. 26 at 83, 91-

   92; Declaration of Anthony J. Fuga (“Fuga Decl.”), Dkt. No. 349, Exh. 5 at 74:27-79:2). That

   evidence, however, merely confirms that the Ryanair website is open to the public, and that Shield

   functions not to authenticate qualified users, but to selectively ban users that are perceived as not

   complying with the terms of use for the Ryanair website.

          A decision revoking access to the website for noncompliance with the website’s terms of

   use does not transform the website into a private page under the hiQ Labs framework. The

   defendants are therefore correct that any user can access any page on Ryanair’s website without

   any prior authorization (except for the final payment page of the myRyanair portion of the

   website). In sum, the defendants’ access to the Ryanair website is not “without authorization” as

   that term is used in the CFAA.



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          In the following section, I address the authentication argument as it relates to the

   myRyanair portion of Ryanair’s website.

                     ii. The MyRyanair Portion of the Ryanair Website

          Ryanair argues that even if the defendants were not guilty of accessing a protected

   computer without authorization when they accessed the public Ryanair website, they were guilty

   of accessing a protected computer without authorization when they gained entry to myRyanair, the

   private, password-protected portion of the Ryanair website. 2

          Access to myRyanair is required to book a Ryanair flight. See Declaration of Iain Lopata

   (“Lopata Decl.”), Dkt No. 350 ¶ 16(c)(iii). Unlike the rest of the Ryanair website, access to the

   payment page of the myRyanair portion of the website is limited to those who create an account,

   select a password, and confirm that they have access to the email address associated with their

   account. 3 In contending that users must be authorized to gain access to the myRyanair website,

   Ryanair points to what it refers to as two CFAA “gates” that authenticate a user entering the

   myRyanair portion of the Ryanair website: (1) the requirement to create an account and (2) the

   requirement that the user log in with a user-selected password. Dkt. No. 348 at 24–25. Account

   creation involves two hurdles: Ryanair blacklists email domains associated with OTAs and

   requires verification of the email address used to register, in order to confirm that the user has




          2
              Ryanair argues that the defendants’ obtaining access to the myRyanair portion of the
   Ryanair website constitutes “exceed[ing] authorized access” as well as acting “without
   authorization.” Because myRyanair is effectively a separate website, access to the myRyanair
   portion of the Ryanair website is best analyzed under the “without authorization” provision of the
   CFAA. In addition, the statute’s definition of “exceeds authorized access” requires that the access
   be used “to obtain or alter information in the computer,” 18 U.S.C. § 1030(6), a requirement that
   is not clearly met in this case.
           3
             If the user creates an account through Facebook, Google, or PayPal, as is permitted by
   the myRyanair website, the email and password associated with the user’s account with one of
   those sources will provide the email and password required to enter the myRyanair payment page.
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   access to that account. See Dkt. No. 348 at 24. Ryanair argues that the account creation, e-mail

   confirmation, and login requirements are all affirmative methods of authenticating authorized

   human users and allowing only human users to access the myRyanair portion of the website. 4

          The defendants do not dispute that Ryanair employs those means of enforcing its policy

   against allowing access to the myRyanair payment page by OTA bots. Instead, they argue that

   none of those steps qualify as authentication or authorization measures. Dkt. No. 372 at 26–29.

   The defendants point out that access to a myRyanair account is generally available, in that any

   user can register by supplying an email address and password, or can bypass the process of

   providing an email and password by logging in with Facebook, Google, or PayPal credentials. For

   that reason, the defendants contend, myRyanair, like the rest of the Ryanair website, is public and

   thus the concepts of “without authorization” or “exceeding authorized access” under the CFAA do

   not apply. The defendants recognize Ryanair’s email domain blacklist as a barrier to account

   creation but argue that the blacklist is only a ban rather than an authorization scheme. Dkt. No.

   372 at 29.

          For purposes of the CFAA, the defendants argue that authentication “typically involves a

   pre-approved list of users that must confirm their identity to access a network.” Dkt. No. 335 at

   26. The defendants contrast myRyanair, for which a user registers by supplying an email address

   and password, with Ryanair’s company intranet, which requires a username and password issued




          4
              Ryanair represents that it recently added a new account verification procedure, which
   requires customers to provide personal identification to verify that the account holder is who he
   says he is. Ryanair argued in its briefing that its new account verification procedure is an
   affirmative method of authenticating human users. In support of its description of the new
   procedure, Ryanair cited a press release from December 2023. At the hearing on the summary
   judgment motions, Ryanair conceded that this measure was not in force during the relevant period
   of this lawsuit. The legal effect of that new verification mechanism is therefore not at issue in this
   proceeding.
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   by Ryanair to its employees, who can access the system only with Ryanair’s express approval.

   The defendants argue that only the latter type of authentication mechanism is sufficient to convert

   what would otherwise be a public website into a private one that would be covered by the “without

   authorization” or “exceeds authorized access” provisions of the CFAA.

           The defendants’ characterization of what is required to render a portion of a website

   “private” is too restrictive. Password-protected systems in which users are free to gain access by

   signing up for an account and selecting their own passwords could be characterized as quasi-

   private, in contrast to fully private password-protected systems in which users are assigned a

   password only after being individually vetted by the website owner. The defendants argue that if

   a member of the public can create an account and select a password without prior vetting by the

   website owner, that scenario is not meaningfully different from one in which the member of the

   public is granted access to the website without creating an account or selecting a password at all.

           In fact, however, there is a significant difference between those two scenarios, and the

   difference bears on whether the access in the second scenario is regarded as unauthorized. When

   a party is required to create an account and select a password, the website owner potentially has

   more control over whether to admit the party, particularly if the website owner conditions creation

   of the account on some kind of verification process, such as Ryanair’s requirement of email

   confirmation. It may be that the verification process is not infallible, but that is merely to say that

   the party seeking access may be able to obtain unauthorized access by some form of dissembling

   regarding its identity.

           Professor Orin S. Kerr, in his insightful article Norms of Computer Trespass, notes that

   there is a “subtle distinction” between circumventing an IP address ban, which in his view does

   not violate the CFAA, and a regime in which the computer owner requires an account to access a



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   computer and then bans that account. In that setting, he argues, circumventing the ban might not

   be authorized if the context can be interpreted as a complete ban. He explains the difference: “By

   creating the access control of an account regime, the computer owner takes control of who can

   access it by making individualized decisions about specific accounts.” 116 COLUM. L. REV. 1143,

   1177 (2016).

          That analysis is consistent with the way courts have interpreted the CFAA. For instance,

   the court in Meta Platforms v. BrandTotal Ltd. granted summary judgment to plaintiff Meta that

   defendant BrandTotal violated the CFAA when it accessed password-protected areas of Meta’s

   platforms by purchasing or creating Facebook accounts. 605 F. Supp. 3d at 1268. Meta’s

   platforms, like myRyanair’s, are not like private intranet pages limited to employees or other

   designated groups of users. Instead, they are generally open to members of the public, allowing

   users to register with their own email addresses and passwords.

          Similarly, in hiQ Labs, the court distinguished hiQ’s scraping of public profiles on

   LinkedIn from the procedure at issue in Facebook, Inc. v. Power Ventures, Inc., 844 F.3d 1058

   (9th Cir. 2016), in which the defendant gathered information from pages that required a Facebook

   username and password to obtain access. 31 F.4th at 1199. The court viewed the scraping of

   public profiles as outside of the “authorization” framework of the CFAA. But the court regarded

   the username and password requirements as constituting authorization and thus triggering liability

   under the CFAA when Facebook explicitly revoked authorization.

          Reading the Ninth Circuit’s decisions in hiQ Labs and Power Ventures together suggests

   that the Ninth Circuit regards fully private and quasi-private websites as both being protected by

   the “without authorization” and “exceeds authorized access” provisions of the CFAA, as opposed

   to websites that are fully open to the public, which are not subject to those protections. In hiQ



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   Labs, the court characterized Power Ventures as a case in which “Power Ventures was gathering

   user data that was protected by Facebook’s username and password authentication system,”

   whereas “the data hiQ was scraping was available to anyone with a web browser.” 31 F.4th at

   1199. On those facts, the court characterized Power Ventures as a case in which “authorization is

   generally required and has either never been given or has been revoked,” whereas in hiQ Labs, the

   information at issue was “presumptively open to all comers.” Id. Applying that distinction, the

   password and account creation mechanism used for allowing access to the myRyanair portion of

   the Ryanair website falls on the Power Ventures side of the line.

          In another case involving Meta, the court again differentiated between screen scraping data

   that was publicly available (i.e., that did not require being logged into a Meta platform) and “data

   behind a log-in screen that is, e.g., password protected.” Meta Platforms, Inc. v. Bright Data Ltd.,

   No. 23-CV-00077, 2024 WL 251406, at *5 (N.D. Cal. Jan. 23, 2024). 5 As in the present case,

   both platforms—Facebook and Instagram—allowed users to register by providing their own

   emails and passwords. Id. at *1. The court specifically differentiated programs designed to defeat

   screen-scraping mechanisms, such as a CAPTCHA, 6 on an otherwise publicly available website

   (i.e., where no log-in was required) from a password barrier to a portion of the website. The court

   concluded that there was a “pivotal” difference between “using CAPTCHA to block automated

   scraping of public information” and “scraping behind a log-in screen.” Id. at *7. There, as here,

   bot-prevention mechanisms on a public website did not transform the public website into a private

   one. However, by putting a portion of the website (here, the option to check out) behind a log-in



          5
             Bright Data involved a breach of contract action, not a CFAA action, but it applied a
   similar “gates-up-or-down” analysis, relying on CFAA case law. Id. at *7.
           6
             CAPTCHA stands for “Completely Automated Public Turing test to tell Computers and
   Humans Apart.” As the name suggests, such mechanisms are used to differentiate human users
   from “bots.”
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   mechanism, the website owner limits that portion of its website to those users that it allows to log

   in.

          The defendants are also incorrect in contending that the myRyanair portion of the Ryanair

   website cannot be private because it does not contain confidential information other than the credit

   card information that a user inputs. The CFAA is not limited to the protection of private

   information. While section 1030(a)(2) of the CFAA protects against unauthorized access that

   results in the intruder obtaining information from a protected computer, other paragraphs of section

   1030(a) prohibit unauthorized access without regard to whether the access results in obtaining

   information. 7 For example, section 1030(a)(4) prohibits unauthorized access with intent to

   defraud, where the intruder “obtains anything of value,” and section 1030(a)(5) prohibits

   unauthorized access resulting in damage or loss.

          Accessing the payment page of the myRyanair portion of the Ryanair website requires

   authorization. That is, the myRyanair portion of the website uses an authorization scheme that

   permits some users to create accounts but blocks others. Accessing that portion of the myRyanair

   website depends on the user being permitted to create an account and then passing a password gate

   based on having an account. As I noted in my order denying the defendants’ motion to dismiss,

   cease-and-desist letters can withdraw authorization to access a protected portion of a website when

   an authentication mechanism protects access to that portion of the website. Dkt. No. 105 at 24–



          7
             The defendants rely on a statement from the Ninth Circuit’s decision in hiQ Labs to
   support their contention that unauthorized access applies only to “private information.” See Dkt.
   No. 372 at 21. However, the Ninth Circuit made that statement—that “the prohibition on
   unauthorized access is properly understood to apply only to private information”—in the context
   of a discussion of section 1030(a)(2)(c), which requires obtaining information from a protected
   computer. See hiQ Labs, 31 F.3d at 1197. Moreover, the hiQ Labs court made clear that
   information is made private “through use of a permission requirement of some sort.” Id. In this
   case, Ryanair makes the checkout process private through use of a permission requirement, and it
   is the access to a private portion of the website (not private information) that is at issue.
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   25; see Facebook, 844 F.3d at 1199. Accordingly, if the defendants accessed the password-

   protected portion of the myRyanair website after Ryanair issued cease-and-desist letters to them,

   they could be found liable for accessing myRyanair “without authorization” within the meaning

   of 18 U.S.C. § 1030(a). 8 Summary judgment cannot be granted to Ryanair on that issue, however,

   because factual issues remain as to whether the defendants have accessed the password-protected

   portion of Ryanair’s website, either directly or vicariously, issues that are separately addressed

   below.

            With respect to the defendants’ motion for summary judgment, the above discussion leads

   to the conclusion that any violation of section 1030 would be limited to the unauthorized access to

   the portion of the myRyanair website that is password protected and requires a user account to

   access, that is, the payment page of the myRyanair website. As noted, there is no information on

   that page other than the information input by the user, such as credit card numbers or the like.

   Therefore, the defendants cannot be held liable for a violation of section 1030(a)(2), which requires

   not only a showing of unlawful access, but also a showing that the unlawful access resulted in

   obtaining information from a protected computer. See 18 U.S.C. § 1030(a)(2)(C). For that reason,

   summary judgment is granted to the defendants on Count I of the complaint. In addition, summary

   judgment is granted to the defendants on Ryanair’s conspiracy claim, Count V of the complaint,



            8
             That outcome would follow even when the defendants successfully created accounts by
   using emails that were not on the Ryanair’s email domain blacklist. Accounts that are successfully
   created using email addresses that are not on Ryanair’s email domain blacklist and successfully
   verified through Ryanair’s email verification systems are initially made with authorization, in that
   they are authenticated by Ryanair’s two authentication mechanisms. However, after the
   defendants received cease-and-desist letters, they no longer had authorization to make or use
   accounts even with emails that are not on the email domain blacklist, because Ryanair could
   properly revoke authorization to make any account. See Kerr, Norms of Computer Trespass, 116
   COLUM. L. REV. at 1177 (“[I]f the computer owner requires an account to access a computer and
   then bans the account, circumventing that ban might not be authorized if the context can be
   interpreted as a complete ban.”); see also hiQ Labs, 31 F.4th at 1199.
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   to the extent that Ryanair relies on the offense set forth in Count I as the offense underlying the

   conspiracy.

              B. Loss

          Proof of unauthorized access alone is not enough to support a claim for relief in a private

   civil action under section 1030. Instead, to sustain any civil claim under the CFAA, a plaintiff

   must also show that it has “suffer[ed] damage or loss by reason of a violation” of the CFAA. 18

   U.S.C. § 1030(g). 9 The nature of qualifying damage or loss is further confined to the types of

   losses set forth in subclauses I through V of section 1030(c)(4)(A)(i). Id. The parties agree that

   the only relevant factor among those subclauses is the first factor, which requires a showing that

   the CFAA offense caused “loss to 1 or more persons during any 1-year period . . . aggregating at

   least $5,000 in value.”

          A “loss” within the meaning of the CFAA is defined as “any reasonable cost to any victim,

   including the cost of responding to an offense, conducting a damage assessment, and restoring the

   data, program, system, or information to its condition prior to the offense, and any revenue lost,

   cost incurred, or other consequential damages incurred because of interruption of service.” Id.

   § 1030(e)(11).

          In the portion of its motion for summary judgment directed to the issue of loss, Ryanair

   argues that it has established that both Booking.com and KAYAK have caused Ryanair to suffer

   losses of more than $5,000 from their screen-scraping activities on the Ryanair website. Dkt No.

   348 at 8–16. 10 Ryanair claims a number of expenses as “losses” within the meaning of the CFAA.




          9
             Only Ryanair’s section 1030(a)(5)(B) and (C) claim (Count IV) requires a showing of
   both damage and loss.
           10
               Ryanair does not argue it has suffered more than $5,000 in a single year as a result of
   the activities of the other defendants.
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   Those claimed losses include the costs associated with a number of measures Ryanair has

   employed to try to prevent the defendants and other OTAs from obtaining flight and fare

   information from Ryanair’s website and using it to sell Ryanair tickets to customers. Those

   expenses include the costs of creating and maintaining technological measures to identify and

   respond to the defendants’ use of automated programs. Such costs, according to Ryanair, include

   the costs of creating and maintaining the Shield program to detect and blacklist the bots that are

   used to obtain information and book tickets on Ryanair’s website; the costs associated with

   employing persons to minimize the use of screen-scraping; and the costs of other programs

   designed to discourage or prevent OTAs from using bots to obtain information from Ryanair’s

   website.

          In addition, Ryanair has listed as losses the costs of scaling up its website infrastructure to

   prevent slowdowns that would otherwise result from the large amount of bot traffic experienced

   by the Ryanair website. Those costs, according to Ryanair, include the costs of additional servers

   for making and storing bookings and the costs of creating and maintaining the password-protected

   portion of myRyanair.

          Finally, Ryanair points to the costs of customer verification procedures designed to ensure

   data integrity relating to customer email and payment methods. Those costs include the costs

   associated with retaining customer service agents and conducting online customer certification and

   in-person customer verification.

          Ryanair allocates a percentage of the costs of the above measures to Booking.com and

   KAYAK based on the percentage of bot activity or bookings that Ryanair attributes to each

   defendant.




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             In their motion for summary judgment, the defendants argue that for three reasons, Ryanair

   cannot establish that any violation of section 1030 by any defendant has caused at least $5,000 in

   losses in any single year. First, the defendants argue that the losses Ryanair cites are attributable

   to standard website security measures and do not qualify as losses under the CFAA. According to

   the defendants, a “loss” within the meaning of the CFAA does not include preemptive measures

   taken to avoid perceived or anticipated problems. Second, the defendants argue that Ryanair has

   not shown that the defendants have caused any technological harms of the sort that qualify as

   “losses” under the CFAA. Third, the defendants argue that Ryanair cannot attribute its claimed

   losses to any one defendant, because it has no reliable allocation methodology. Dkt. No. 335 at

   28–35.

                        i. Losses from investigating and responding to offenses

             The parties dispute whether Ryanair can include the costs of securing its websites from the

   defendants’ bots as “losses” under the CFAA. Ryanair argues that measures taken to investigate

   bot activity, assess damages caused by such bots, and respond to detected bot activity are properly

   included as losses under the CFAA as part of the reasonable costs of responding to an offense.

   Dkt. No. 348 at 9–11 (citing United States v. Nosal, No. CR-08-0237, 2014 WL 121519, at *5

   (N.D. Cal. Jan. 13, 2014); United States v. Middleton, 231 F.3d 1207, 1213-14 (9th Cir. 2000);

   Zap Cellular, Inc. v. Weintraub, No. 15-CV-6723, 2022 WL 4325746, at *12 (E.D.N.Y. Sept. 19,

   2022)).

             The defendants respond that a qualifying “loss” must result from technological harm and

   that Ryanair has not shown any such harm. Dkt. No. 335 at 27 (citing Van Buren, 593 U.S. at

   391–92). Rather, the defendants argue, Ryanair’s claims of loss focus on preemptive measures

   designed to prevent technological harm, such as measures to prevent the Ryanair website from



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   crashing. According to the defendants, those measures cannot be counted as “losses” for purposes

   of the CFAA, because such measures are prophylactic in nature and are not the results of technical

   harm to a computer, such as the costs of replacing computer components or reconstituting a

   database. Dkt. No. 335 at 27–28 (citing Middleton, 231 F.3d at 1213; Univ. Sports Publ’ns Co. v.

   Playmakers Media Co., 725 F. Supp. 2d 378, 388 (S.D.N.Y. 2010); Brooks v. AM Resorts, LLC,

   954 F. Supp. 2d 331, 338 (E.D. Pa. 2013); Fink v. Time Warner Cable, 810 F. Supp. 2d 633, 641

   (S.D.N.Y. 2011), on reconsideration, 2011 WL 5121068 (S.D.N.Y. Oct. 28, 2011); Nexans Wires

   S.A. v. Sark-USA, Inc., 319 F. Supp. 2d 468, 474 (S.D.N.Y. 2004), aff’d, 166 F. App’x 559 (2d

   Cir. 2006)).

          Prior to Van Buren, courts were divided over whether the “cost of responding to an offense”

   includes the cost of investigating a violation of the CFAA in which a plaintiff does not show that

   a computer was damaged or that service was interrupted. Compare Harley Auto. Grp., Inc. v. AP

   Supply, Inc., No. CIV. 12-1110, 2013 WL 6801221, at *6 (D. Minn. Dec. 23, 2013) (CFAA loss

   requirement is restricted to “actual computer impairment.”) (collecting cases); Jarosch v. Am.

   Fam. Mut. Ins. Co., 837 F. Supp. 2d 980, 1022 (E.D. Wis. 2011) (“costs that are not related to the

   impairment or damage to a computer or computer system are not cognizable losses under the

   CFAA”); Civic Ctr. Motors, Ltd. v. Mason St. Imp. Cars, Ltd., 387 F. Supp. 2d 378, 382 (S.D.N.Y.

   2005) (“[C]osts not related to computer impairment or computer damages are not compensable

   under the CFAA.”); Fink, 810 F. Supp. 2d at 641 (same); and Nexans Wires S.A., 319 F. Supp. 2d

   at 474–75 (same), with Yoder & Frey Auctioneers, Inc. v. EquipmentFacts, LLC, 774 F.3d 1065,

   1073–74 (6th Cir. 2014) (treating the costs of investigating unauthorized access to a private

   website as “loss” under the CFAA); A.V. ex rel. Vanderhye v. iParadigms, LLC, 562 F.3d 630,

   646 (4th Cir. 2009) (finding the reasonable cost of responding to an offense includes “the



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   investigation of an offense”); Nosal, 2014 WL 121519, at *5–6 (concluding loss does not require

   “actual damage to a computer system or data”); and Multiven, Inc. v. Cisco Sys., Inc., 725 F. Supp.

   2d 887, 895 (N.D. Cal. 2010) (“Costs associated with investigating intrusions into a computer

   network and taking subsequent remedial measures are losses within the meaning of the statute.”).

          In Van Buren v. United States, the Supreme Court did not squarely address this issue.

   However, the Court stated that “[t]he statutory definitions of ‘damage’ and ‘loss’ . . . focus on

   technological harms—such as the corruption of files—of the type that unauthorized users can

   cause to computer systems and data. Limiting ‘damage’ and ‘loss’ in this way makes sense in a

   scheme ‘aimed at preventing the typical consequences of hacking.’” 593 U.S. at 391–92 (citation

   omitted).

          Several courts that have addressed the scope of the phrase “cost of responding to an

   offense” since Van Buren have held, based on that language, that a plaintiff cannot rely on the

   costs of investigating a CFAA violation as constituting a statutory “loss” without showing actual

   damage to a protected computer or database. See hiQ Labs, 31 F.4th at 1195 n.12 (interpreting

   Van Buren as having concluded that the civil remedies section of the CFAA “requires a showing”

   of technological harm); Pinebrook Holdings, LLC v. Narup, No. 4:19-CV-1562, 2022 WL

   1773057, at *11 n.17 (E.D. Mo. June 1, 2022); see also ACI Payments, Inc. v. Conservice, LLC,

   No. 121CV00084, 2022 WL 622214, at *12 & n.135 (D. Utah Mar. 3, 2022) (noting a trend

   towards a restrictive reading of the CFAA, but not deciding which approach applies in that case).

          In Better Holdco, Inc. v. Beeline Loans, Inc., for example, the plaintiff alleged that the

   defendant’s employee improperly accessed and downloaded information from the plaintiff’s

   protected computer in violation of the CFAA. No. 20-CV-8686, 2021 WL 3173736, at *3

   (S.D.N.Y. July 26, 2021). The plaintiff alleged that it had spent more than $5,000 “responding to”



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   the CFAA violation. The court, however, interpreted the passage from Van Buren discussing the

   term “loss” to mean that the “cost of responding to an offense” is limited to cases “involving

   damage to or impairment of the protected computer.” Id. at *3–4. Because the plaintiff had not

   alleged that the computer “was damaged or required remediation,” the court held that the plaintiff

   had not stated a claim under the civil remedy provision of the CFAA. Id. at *3–4. Other courts in

   the Southern District of New York have followed Better Holdco in that respect. See William

   Gottlieb Mgmt. Co., LLC v. Carlin, No. 20-CIV-08907, 2024 WL 1311854, at *3 (S.D.N.Y. Mar.

   26, 2024); Socialedge, Inc. d/b/a CreatorIQ, v. Traackr, Inc., No. 23-CIV-6860, 2024 WL

   1533624, at *6 (S.D.N.Y. Apr. 9, 2024).

           District courts in other jurisdictions have adopted a broader interpretation of “loss” in the

   aftermath of Van Buren. See Meta Platforms, 605 F. Supp. 3d at 1265 (holding that Van Buren

   does not foreclose losses based on “investigative costs” where there has been a violation of the

   CFAA); Vox Mktg. Grp. v. Prodigy Promos, 556 F. Supp. 3d 1280, 1289 (D. Utah 2021) (treating

   the cost of auditing computers “to determine how Defendants obtained access to them and whether

   they were compromised in anyway by Defendants” as a “loss” under the CFAA).

           Because a “loss” under the CFAA is defined to include “any reasonable cost to any victim,

   including the cost of responding to an offense,” 18 U.S.C. § 1030(e)(8), the term “loss” is best

   understood to include the cost of an investigation following a CFAA violation, even in instances

   in which the violation has not resulted in actual impairment of the protected computer or loss of

   data. Not only is that interpretation faithful to the definition of “loss,” but it is consistent with the

   statutory scheme as a whole, as illustrated by two examples.

           First, the offense defined in section 1030(a)(2)(C) covers cases in which a defendant

   “intentionally accesses a computer without authorization or exceeds authorized access, and thereby



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   obtains . . . information from any protected computer.” That offense does not require proof of

   actual harm to the protected computer or loss of data. Therefore, if the “cost of responding to” a

   violation of that provision applies to violations in which there has been no harm to a computer and

   no loss of data, the cost of responding would have to include incidental costs, such as the cost of

   investigating the intrusion.

          Second, the CFAA contains a separate offense that requires proof that a defendant has

   “intentionally accesse[d] a protected computer without authorization, and as a result of such

   conduct, cause[d] damage and loss.” 18 U.S.C. § 1030(a)(5)(C). Interpreting the term “loss” to

   require a plaintiff to show damage to the computer would make the reference to “damage” in the

   phrase “damage and loss” in that section superfluous.

          In Van Buren, the Supreme Court drew a contrast between technological harms that are the

   “typical consequences of hacking” and the “misuse of sensitive information that employees may

   permissibly access using their computers.” Van Buren, 593 U.S. at 392 (quotations omitted). The

   Court pointed to the corruption of computer files as an example of technological harm, but it did

   not suggest that other harms resulting from unlawful access to protected information would not

   qualify as “losses” within the meaning of the statute. See Meta Platforms, 605 F. Supp. 3d at 1265

   (“There is no indication that the Van Buren Court would place investigative costs as falling outside

   the scope of ‘the cost of responding to an offense’ that the statute specifically incorporates.”).

   Ryanair therefore may include the reasonable costs of investigating and responding to bot traffic

   by unauthorized users on non-public portions of its website as losses under the CFAA. 11



          11
              The defendants invoke hiQ Labs in support of their argument that measures designed to
   prevent screen scraping do not constitute technological harm and therefore cannot qualify as
   “losses” for purpose of the CFAA. But hiQ Labs held only that screen scraping public information
   does not qualify as a technological harm. The defendants argue that in that case the plaintiff had
   alleged that it employed various technological measures to prevent screen scraping and that the
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          To be sure, there are limits on what a plaintiff may include as the costs of responding to an

   offense. Because loss must be focused on technological harm, as the Supreme Court said in Van

   Buren, 593 U.S. at 392, the plaintiff may include investigative costs that are “reasonably necessary

   to respond to the offense, for example by identifying the perpetrator or the method by which the

   offender accessed the protected information.” Nosal, 2014 WL 121519, at *5. However, a plaintiff

   may not include the costs of an investigation that is directed at business harms, such as the costs

   of investigating how a competitor used protected information obtained as a result of the CFAA

   violation. Additionally, a plaintiff may include the cost of resecuring its systems after an offense

   as a loss, but not the cost of measures that make its system more secure than it was before. See

   Middleton, 231 F.3d at 1213.

          Applying those standards to Ryanair’s various categories of claimed losses, the court

   concludes as follows:

          1. Shield Hosting Costs. Shield is essentially a prophylactic measure designed to prevent

   screen scraping. Costs of such prophylactic measures are not remedial in nature and therefore do

   not qualify as “losses” within the meaning of the CFAA. To the extent that the facts at trial show

   that Shield prevents unauthorized bookings at the payment page after account creation, any portion

   of those costs allocable to each defendant may qualify as losses under the CFAA for purposes of

   satisfying the $5,000 threshold requirement for that defendant.




   Ninth Circuit did not find the costs of such measures to constitute “losses” under the CFAA.
   However, the court did not hold that expenses attributable to an unauthorized invasion of a secured
   website or a secured portion of a website, as alleged in this case, could not constitute “losses”
   within the meaning of the CFAA.
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           2. Shield Software Development Costs. Because a plaintiff cannot claim the cost of

   measures to make a system more secure than it was before as a loss, Ryanair may not include the

   costs of “developing and updating” Shield, see Dkt. 348 at 10, as a “loss” under the CFAA.

           3. Business Intelligence Employees. Ryanair attributes two primary roles to its business

   intelligence employees as related to this action: improving Shield and remedying the harms of bot

   activity. See Fuga Decl. Exh. 15 at 235:6–235:11, 235:22–237:14. For the same reason that it

   may not include software development costs as a “loss,” Ryanair may not include as a “loss” the

   costs of its business intelligence employees related to developing and improving Shield. However,

   contingent on proving that bot activity damages the integrity of its data, Ryanair may include the

   costs entailed in its business intelligence employees’ activities relating to remedying the harms of

   bot activity. 12

           4. New Relic. Ryanair may not include the costs associated with the New Relic software,

   because that software is used to monitor Ryanair’s website, not specifically to respond to or

   investigate a violation of the CFAA. See Fuga Decl. Exh. 5 at 135:4–16.




           12
              The defendants argue in a footnote that Ryanair cannot substantiate the costs attributable
   to its business intelligence and customer service employees. See Dkt. No. 335 at 33 n.21 (citing
   Glob. Policy Partners, LLC v. Yessin, 686 F. Supp. 2d 642, 651–52 (E.D. Va. 2010). In Global
   Policy Partners, the court held that employee time spent responding to an offense falls within the
   CFAA’s definition of loss. Id. at 651. However, the court determined that there was no evidence
   supporting the assertion that an employee spent 50 hours investigating the alleged CFAA violation
   beyond conclusory statements that were “so vague that no reasonable jury could conclude that the
   expended time was reasonably necessary to restore or resecure the system.” Id. at 651–52. By
   contrast, in the present case, Ryanair has produced evidence of the functions that the relevant
   employees perform and an explanation of how the amount of time spent addressing OTA issues
   was calculated. See Declaration of Ji Mao (“Mao Decl.”), Dkt. No. 377, Exh. 8 at 3–5; Fuga Decl.
   Exh. 6 at 28–30, 34–35, 37–38; Fuga Decl. Exh. 14 [Dkt. No. 349-6] at 16:14-19:2, 29:4-33:10.
   The defendants may, of course, challenge the accuracy of Ryanair’s calculations, but at this stage
   in the proceedings, they have not shown that there is an absence of evidence for those elements of
   Ryanair’s costs.
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          5. Cloudfront and Amazon Web Application Firewall (“AWS-WAF”). Ryanair may

   include the costs of Cloudfront and AWS-WAF to the extent that Ryanair can attribute those costs

   to denying unauthorized booking requests by the defendants. Because both Cloudfront and AWS-

   WAF have multiple purposes, Ryanair must be able to attribute costs specifically to unauthorized

   bot activity that violates the CFAA. See Fuga Decl. Exh. 5 at 132:6–20 and Fuga Decl. Exh. 15 at

   100:10–17 (Cloudfront); Hemann Decl. Exh. 1 at 69:23–29 (Cloudfront); Fuga Decl. Exh. 15 at

   38:20–39:11 (AWS-WAF); Hemann Decl. Exh. 1 at 66:13–14, 68:6–10 (AWS-WAF).

          6. Navitaire and myRyanair. Ryanair may not include the costs of Navitaire, which

   provides servers for storing Ryanair bookings, nor the costs of maintaining myRyanair’s

   infrastructure, because those costs are not related to responding to violations, unless the facts

   developed at trial show that the bot traffic attributable to the defendants has materially increased

   the cost of Ryanair’s server infrastructure.

          The defendants argue that the only possible technological harm in this case is the “Monex

   attack,” an event that occurred in 2023 and which Ryanair blames on the defendants. See Dkt. No.

   335 at 34–35. I address below the question whether the defendants are entitled to summary

   judgment that they are not liable for the Monex attack. Assuming that Ryanair has made a

   sufficient showing that the defendants are responsible, at least in part, for the Monex attack, the

   costs attached to that event would clearly qualify as a “loss” within the meaning of the CFAA, as

   the loss would be “technological” even under the narrowest interpretation of that term. Ultimately,

   for the reasons discussed below I conclude that whether a portion of the Monex attack can be

   attributed to the defendants and whether the Monex attack damaged Ryanair’s systems are factual

   questions that are not suitable for resolution on summary judgment.




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                      ii. Losses attributable to customer verification procedures

          Ryanair argues that several costs of verifying customer information are compensable losses

   related to restoring data under the CFAA. According to Ryanair, the defendants’ bots use

   “fabricated payment methods, passenger personal information, and e-mail addresses when booking

   flights,” resulting in what Ryanair characterizes as “corrupted data.” Dkt. No. 348 at 12. Ryanair

   argues that in order to restore its data integrity it has implemented a variety of costly customer

   verification procedures. Those measures include the use of customer service agents, an online

   customer verification procedure, an in-person customer verification procedure, and so-called

   “digital employees,” who communicate with customers who book through OTAs, verify their

   information for the purpose of issuing refunds, and devise methods of limiting access to the

   Ryanair website by OTA bots. Ryanair further argues that even if the information was not “fake,”

   the costs to investigate its data integrity would be recognizable as a loss. Id. at 13 (citing Univ.

   Sports Publ’ns, 725 F. Supp. 2d at 387).

          The defendants argue that none of the costs of Ryanair’s online or in-person verification

   processes constitute losses under the CFAA because they are not actions taken in response to any

   technological harm, but rather are “self-inflicted business processes” to deter the use of OTAs.

   Dkt. No. 335 at 33. In particular, the defendants dispute Ryanair’s use of the term “corrupted” to

   refer to the data affected by OTA bookings, arguing that the term is misleading because the

   customer information is not corrupted, fake, or incorrect. Id. at 33 n.23. The defendants further

   dispute that any “fake” information is given to Ryanair, and that the even for bookings arranged

   by their vendors, Ryanair ultimately receives the passengers’ correct email addresses. Dkt. No.

   372 at 33–34. And even if the information was “incorrect,” the defendants assert that the data was




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   not “corrupted” in the technical sense of that term, but rather is, at most, “lacking from a business

   analytics perspective.” Id. at 6.

          Genuine issues of material fact preclude summary judgment for either side on this issue.

   First, the question whether the OTA bookings affect the integrity of Ryanair’s data turns on

   whether the bookings were unauthorized. If Ryanair is correct in its theory of the case, the

   unauthorized bookings affect Ryanair’s data integrity because such bookings input information

   into Ryanair’s database that never should have been there in the first place. Second, there is a

   question whether Ryanair’s verification measures are directed at data integrity or were simply a

   business practice designed to discourage the use of OTAs is a contested factual issue. Third,

   whether the OTAs’ customer details and payment methods are in fact “fake” is also contested. In

   fact, it is the basis of the counterclaims addressed infra section IV.A.

                     iii. Ryanair’s allocation method

          The defendants argue that even if Ryanair’s alleged losses are compensable under the

   CFAA, the court must enter summary judgment for the defendants because Ryanair cannot

   attribute $5,000 or more of loss in a single year to any defendant. Dkt. No. 335 at 35; Dkt. No.

   372 at 8–9.

          The defendants argue that Ryanair conceded this issue as it applies to defendants Agoda,

   Priceline, and BHI based on the report of Ryanair’s expert, Iain Lopata. See Hemann Decl. Exh.

   40 ¶¶ 161, 176–182. Ryanair responds that Mr. Lopata merely stated he could not calculate the

   percentage of OTA bookings attributed to those defendants. See Dkt. No. 376 at 31.

          The defendants mischaracterize the report as a concession. In paragraph 161 of his report,

   Mr. Lopata concluded that if BHI is found liable for conspiring with the other defendants, BHI

   would be liable for at least the costs attributable to Booking.com. In paragraphs 176 through 182,



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   Mr. Lopata explained that he could not calculate the percentage of total OTA bookings attributable

   to either Agoda or Priceline because at that point he had not received information as to how many

   bookings had been made via the link-out method. That does not establish that, if Ryanair

   introduces evidence as to the number of bookings attributable to those defendants, Ryanair cannot

   allocate a pro-rata share of costs to those bookings. 13

          The defendants next argue that Ryanair cannot meet the $5,000 threshold even for

   defendants Booking.com and KAYAK because Ryanair includes costs associated with basic web

   security and business costs. This issue is addressed in the discussion of which costs Ryanair may

   include as losses above: Ryanair may include only the costs above and the defendants have not

   shown definitively that those costs will not add up to at least $5,000.

          Finally, the defendants argue that Ryanair’s expert Mr. Lopata used an unreliable method

   to attribute costs to the defendants because he failed to follow appropriate principles for calculating

   damages and failed to provide sufficient support for the calculation of percentages of OTA

   bookings attributable to each defendant. The defendants rely largely on their motion for the

   exclusion of Mr. Lopata’s testimony to support this argument. In responding, Ryanair similarly

   relies on its response to that Daubert motion. This issue is addressed in greater detail, in section

   VI.A, infra. For the purposes of summary judgment on the issue of loss, however, it suffices to

   say that the defendants have not met their burden of showing that Ryanair will be unable to allocate

   permissible costs, as defined by the court, to each of the defendants by introducing evidence at

   trial as to the bookings that are attributable to each defendant.




          13
             Ryanair argues in its response that all annual costs of Shield are attributable to each
   defendant individually. See Dkt. No. 376 at 31. This is incorrect; Ryanair must be able to
   apportion the chargeable costs of Shield to each defendant individually.
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          In sum, while some of the costs that Ryanair describes as losses under the CFAA are

   beyond the statutory definition of “loss,” other costs fall within that definition. Based on the record

   at present, the defendants have not shown that Ryanair will be unable to establish a loss of at least

   $5,000 attributable to each defendant. However, because Ryanair’s loss calculations include some

   costs that are excluded by the CFAA and some of its listed costs are disputed, it is also the case

   that Ryanair has not established conclusively that defendants Booking.com and Kayak have each

   caused Ryanair at least $5,000 in losses in any one-year period. Accordingly, both parties’ motions

   for summary judgment on the issue of loss are denied.

              C. Direct Liability

          The defendants argue that none of the defendants are directly liable for any of the claimed

   CFAA violations because no defendant directly accesses Ryanair’s website to obtain Ryanair flight

   information or to book Ryanair flights. Dkt. No. 335 at 17–18. Ryanair responds that at least

   KAYAK has admitted to accessing the Ryanair website without authorization to confirm the

   accuracy of flight information that its third-party vendors scrape from the website. Dkt. No. 376

   at 7 (citing Mao Decl. Exh. 5 at 225:2-25). The defendants reply that KAYAK’s “accuracy

   checks” do not violate the CFAA. Dkt. No. 378 at 2 n.2, 19 (citing Dkt. No. 343-16, Hemann

   Decl. Exh. 16 at 222:25- 223:25).

          The parties agree that KAYAK accesses the Ryanair website to check the accuracy of flight

   information provided by its vendors. Accordingly, the resolution of this argument turns on the

   legal question of whether such access is “without authorization.” Because KAYAK accesses only

   the Ryanair website, which the court finds is public, and not the myRyanair site, the court agrees

   with the defendants that Ryanair has not produced any evidence that the defendants, including




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   KAYAK, violate the CFAA through direct access to Ryanair’s webpage. The defendants are

   therefore entitled to summary judgment on the issue of direct liability.

              D. Indirect Liability

          The parties are in agreement as to many of the central facts underlying this issue. The

   defendants do not dispute that they received cease-and-desist letters from Ryanair stating that

   Ryanair did not authorize the OTAs to sell Ryanair flights online. See Dkt. No. 335 at 15–16. The

   parties also agree that the defendants offer Ryanair flights on their platforms, and that the lists of

   flights are provided to the defendants by the defendants’ third-party vendors. The defendants

   (other than BHI) also acknowledge that they contract with vendors to populate the defendants’

   websites with flight information that is ultimately used to book customers’ flight itineraries.

          In the case of Booking.com, the process of booking a flight is as follows: When a customer

   searches for a flight itinerary on Booking.com, Booking.com passes the request automatically to

   its vendor, Etraveli. Etraveli then automatically sends information back to Booking.com listing

   the flights that meet the customer’s search criteria, including any Ryanair flights that may be

   applicable. The customer then selects a flight and enters the payment details on the Booking.com

   site. Booking.com then sends the customer’s request and payment to Etraveli. Etraveli then books

   the flight. The customer never leaves Booking.com’s website. Declaration of Marcos Guerrero

   (“Guerrero Decl.”), Dkt. No. 337, ¶¶ 5–7. The process is similar for the other defendants and their

   vendors.

          Based on those facts, Ryanair argues that the record conclusively establishes that

   Booking.com and KAYAK induce, direct, and encourage their vendors—and, for KAYAK only,




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   commercial partners 14—to violate the CFAA by sending requests to their vendors to obtain flight

   information regarding Ryanair flights and to book the flights chosen by their customers. Ryanair

   argues that those requests can be fulfilled only by circumventing Ryanair’s security measures,

   thereby violating the CFAA. Ryanair also points the court to one of its interrogatory responses in

   which Ryanair stated that it confirmed that the reservation numbers (referred to as passenger name

   records or PNRs) provided by the defendants were booked through the Ryanair website. Fuga

   Decl. Exh. 6 at 83.

          The defendants, on the other hand, argue that the facts regarding the process by which

   information is gathered and flights are booked do not show that any defendant induces, directs, or

   encourages a third-party vendor to violate the CFAA. First, the defendants argue that the contracts

   between the defendants and their vendors foreclose indirect liability under the CFAA because

   those contracts either disclaim an agency relationship explicitly or have terms that specify that the

   vendor has the discretion to offer and book flights, a process that creates a contract between the

   customer and the vendor. See Hemann Decl. Exh. 49 at 2; Hemann Decl. Exh. 52 § 11.8; Hemann

   Decl. Exh. 51 at § 14.6, Schedule 2; Hemann Decl. Exh. 54 § 6.1.3; Hemann Decl. Exh. 55

   § 6.1(g); Hemann Decl. Exh. 57 §§ 3.6, 10.4; Hemann Decl. Exhs. 56–65. Second, the defendants

   argue that there is no evidence that the defendants tell their vendors whether to obtain information

   or to book flights from the Ryanair website, let alone direct their vendors to access the website in

   a way that violates the CFAA. Third, the defendants argue that there is no evidence that their

   vendors actually access the Ryanair website.




          14
              KAYAK enables both “facilitated bookings,” which operate like the other defendants’
   bookings, and “Link-Out bookings,” which are completed entirely on a third-party vendor’s page.
   See Fuga Decl. Exh. 4 at 8–11. Thus, for Link-Out bookings, Ryanair argues that KAYAK
   induces, directs, and encourages its partners, not its vendors.
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           In their motion to dismiss on the pleadings, the defendants argued that there must be a

   formal agency relationship between the parties in order to create vicarious liability. In my order

   on that motion, I rejected that argument and held that the indirect or vicarious liability under

   section 1030(g) extends to parties who direct, encourage, or induce others to commit acts that

   violate the CFAA, regardless of whether the parties are in an agency relationship, or whether the

   defendants’ vendors have explicitly agreed to obtain flight information by screen scraping

   Ryanair’s website. See Dkt. No. 105 at 7–14. I continue to regard that formulation as stating the

   proper test for indirect or vicarious liability.

           The defendants now argue that indirect liability attaches only if there is “purposeful, active

   influence by the defendant aimed at the specific computer access at issue—akin to, if not identical

   to, an agency relationship.” Dkt. No. 335 at 19. In support of that standard, the defendants cite

   Svanaco, Inc. v. Brand, 417 F. Supp. 3d 1042 (N.D. Ill. 2019), and Alchem Inc. v. Cage, No. 2:20-

   CV-03142, 2021 WL 4902331 (E.D. Pa. Oct. 21, 2021), vacated and remanded on other grounds,

   2022 WL 3043153 (3d Cir. Aug. 2, 2022)).

           Neither of those cases requires such proof. In Svanaco, the court rejected a theory of

   secondary liability where the defendant’s contractor launched a distributed-denial-of-service

   (“DDoS”) attack against the plaintiff, and there was no evidence the contractor informed the

   defendant that he planned to take such action, let alone that he acted on direction from the

   defendant. 417 F. Supp. 3d at 1060. In Alchem, the court found that the defendant did not direct,

   encourage, or induce its employee to access the plaintiff’s computer system without authorization.

   2021 WL 4902331, at *7. The plaintiff in that case argued that the defendant induced one of its

   employees to violate the CFAA by paying her a commission on sales to new customers, but the




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   court found it unreasonable to infer that the defendant had induced a violation of the CFAA based

   solely on the evidence of the employee’s pay structure. Id.

          The defendants’ argument that their contracts with their vendors foreclose liability fails

   under the proper standard for indirect liability. Because indirect liability does not require agency,

   it is not dispositive that those agreements disclaim an agency relationship: the defendants can be

   held liable based on evidence that the defendants induced the vendors to violate the CFAA.

   Additionally, as Ryanair argues in its response to the defendants’ motion, it is not relevant under

   those contracts that a vendor could choose not to display or book Ryanair flights. The defendants’

   liability does not turn on what the vendors could have done but rather on whether the defendants

   induced, directed, or encouraged their vendors to obtain flight information from and book flights

   on Ryanair’s website.

          Moreover, the defendants are incorrect in asserting that Ryanair can establish liability only

   if they can show that they specifically directed their vendors to include Ryanair flights and advised

   them how to access the Ryanair website in a manner that would violate the CFAA, such as by

   directing their vendors to use bots, to make myRyanair accounts, or to bypass Shield. The

   defendants’ argument on this issue is based on its interpretation of the Svanaco and Alchem cases.

   As discussed, however, those cases do not establish that such active direction is required. In those

   cases, moreover, the defendants never contemplated (let alone directed or encouraged) that third

   parties would access protected computers. Here, however, even if the defendants were previously

   unaware of how their vendors were obtaining Ryanair flight information, Ryanair put the

   defendants on notice of their vendors’ conduct through its cease-and-desist letters and stated that

   Ryanair does not authorize OTAs to sell its flights or scrape its website. See Dkt. No. 76, Exhs.

   B, C, D, & E.



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             The defendants cannot now avoid liability simply because third parties access the Ryanair

   website to obtain the relevant information and make bookings for the defendants’ customers. See

   Power Ventures, 844 F.3d at 1067 (“Once permission [to access a computer] has been revoked,

   technological gamesmanship or the enlisting of a third party to aid in access will not excuse

   liability” under the CFAA.). The evidence is sufficient to create a jury question as to whether the

   defendants induce, direct, or encourage their vendors to obtain Ryanair flight information and book

   Ryanair flights by sending requests for these actions from their websites to the vendor websites. 15

   The fact that the defendants automated such requests has no bearing on whether there is such

   direction. If the vendors’ actions are in violation of the CFAA, then the defendants can be held

   liable.

             Finally, the defendants’ assertion that there is no evidence that their vendors actually access

   the Ryanair website is incorrect. The parties agree that Ryanair is paid for flights booked on behalf

   of the defendants’ customers by the defendants’ vendors. Ryanair points to its interrogatory

   response stating that Ryanair confirmed that the reservation codes provided by the defendants were

   purchased through the website, Fuga Decl. Exh. 6 at 83, and argues that any flights booked on the

   Ryanair website would have to have circumvented Shield. Dkt. No. 348 at 17 (citing Fuga Decl.

   Exh. 2 at 7-12; Fuga Decl. Exh. 4 at 6-8, 11-14, 17; Fuga Decl. Exh. 19 at 35:12-37:18). The

   defendants raise issues with Ryanair’s interrogatory response, including that it does not explain

   who at Ryanair made this determination or how that person made the determination. The

   defendants may raise these issues at trial. For present purposes, Ryanair’s summary judgment



             15
                Because Ryanair moved for summary judgment only against Booking.com and
   KAYAK, its motion was directed only to the evidence that those defendants induce, direct, or
   encourage vendors to access the Ryanair website in violation of the CFAA. Accordingly, Ryanair
   will need to make the same showing for the other defendants to sustain its charge of indirect
   liability against them.
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   motion on this issue is precluded since there is a factual dispute as to whether the defendants’ have

   induced their vendors to access the Ryanair website.

              E. The Monex Attack

          Monex is Ryanair’s payment processor. Whenever a customer tries to make a payment,

   Ryanair sends Monex a token with the customer’s payment information. If the token has no

   payment information, it is considered a null token. Ryanair keeps an error log of instances in

   which Monex receives a null token. On October 5, 2023, Ryanair recorded the transmission of

   more than 60,000 null tokens to Monex in one hour, which adversely affected the functionality of

   Ryanair’s website. See Fuga Decl. Exh. 6 at 85–87. Ryanair characterizes that event as the

   “Monex Attack,” and seeks to hold Booking.com liable for that attack.

          In their motion for summary judgment, the defendants contend that Booking.com cannot

   be held liable for the “Monex Attack” for several reasons. Dkt. No. 335 at 22–24. The defendants

   argue that Booking.com does not access the Ryanair website for customer booking and that any

   bookings attributable to Booking.com through its vendors could not be responsible for Monex’s

   failure based on the low volume of those bookings during the relevant period. Booking.com also

   contends that there is no evidence that it directed any of its vendors to launch an attack. Ryanair

   does not address the “Monex Attack” in its motion for summary judgment.

          In response to the defendants’ summary judgment motion, Ryanair points to factual

   disputes that it contends require denial of summary judgment for the defendants on this issue.

   During discovery, Booking.com produced its PNR codes to Ryanair. Ryanair matched 26 of

   Booking.com’s PNRs from October 5, 2023, to the error log. See Fuga Decl. Exh. 6 at 84–86.

   Ryanair argues that each PNR is likely responsible for thousands of efforts to reach Ryanair’s

   website, which likely contributed to overwhelming Monex. Id. at 87. The defendants dispute that



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   their bookings could have contributed to Monex’s failure based on testimony that it is likely that

   a single source was responsible for the attack. See Hemann Decl. Exh. 3 at 79:15–80:14. The

   defendants also point to statements that a third party could have been entirely responsible for the

   incident. See id. at 63:14-64:3, 79:23-80:24. In addition, the defendants argue that in the case of

   the specific PNR code connected to 5000 payments attempts, it was the computer’s IP address that

   was associated with those attempts, but not the specific session connected with Booking.com’s

   PNR code. See Dkt. No. 378 at 5–6 n.6. Ryanair will need to prove at trial that the attempts

   associated with Booking.com could be responsible for all or part of the breakdown of its website

   functionality, but that issue cannot be resolved at this juncture.

          The defendants’ first argument—that Booking.com does not directly access the Ryanair

   website—is beside the point, because both parties agree that access to the website happens through

   third parties. As noted above, in order for any liability to attach to Booking.com, Ryanair must

   prove that Booking.com is vicariously liable for violations of the CFAA.

          The defendants’ second argument—that Booking.com was unaware of the attack and thus

   could not have directed, induced, or encouraged it—is similarly unavailing. The defendants

   compare this case to Svanaco, in which the defendant did not know its contractor was launching

   an attack on the plaintiff’s website and was therefore held not to be liable for the consequences of

   the attack. 417 F. Supp. 3d at 1060. The defendants point in particular to evidence that

   Booking.com did not know why its vendors had issues accessing the Ryanair website on October

   5 and 6, 2023, and they contend there is no evidence that Booking.com directed the attack or

   intended to cause the outage. See Hemann Decl. Exh. 13 at 22:8–24:15; Guerrero Decl. [Dkt. No.

   337] ¶¶ 13–14; Housseau Decl. [Dkt. No. 338] ¶¶ 4–6 and Exh. A.




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          Ryanair’s theory, however, is not that Booking.com specifically directed its vendors to act

   so as to overwhelm Monex, but rather that Booking.com is liable because it directed, induced, or

   encouraged accessing the website in violation of the CFAA by sending customer requests to third-

   party vendors who necessarily had to overcome Ryanair’s security measures. Accordingly, even

   if Booking.com did not direct its vendors on how to overcome those measures, such as by disabling

   Shield by submitting multiple payment attempts to Monex, Booking.com could be held liable for

   inducing, directing, or encouraging such action if the defendants had the intent to induce their

   vendors to obtain information from the Ryanair website by circumventing Ryanair‘s attempts to

   prevent them from doing so.

              F. Count I: 18 U.S.C. § 1030(a)(2)(C)

          A defendant violates Section 1030(a)(2)(C) when it accesses a computer intentionally

   without authority or exceeding authorized access and thereby obtains information from a protected

   computer. As noted earlier, all the information that is obtained from the Ryanair website by screen

   scraping is obtained from the public portion of the website, not from the password-protected

   payment page of myRyanair. Therefore, the defendants do not obtain information by accessing a

   computer without authorization or by exceeding their authorized access. For that reason, summary

   judgment must be granted to the defendants with regard to Count I of the complaint.

              G. Count IV: 18 U.S.C. § 1030(a)(5)(B)–(C).

          Ryanair argues for summary judgment against Booking.com and KAYAK under sections

   1030(a)(5)(B) and (C) of the CFAA, which prohibit knowingly causing a transmission that

   intentionally accesses a protected computer without authorization and either recklessly causes

   damage (subparagraph (B)) or causes damage and loss (subparagraph (C)). Ryanair argues that it

   has suffered damage based on the “Monex Attack” as well as other injury to its data integrity. The



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   defendants argue that Ryanair’s damages claim fails because no evidence links any defendant to

   the Monex attack and because adding passenger data does not denigrate data integrity as

   contemplated under the CFAA but rather is simply data that Ryanair does not find optimal from a

   business standpoint. For the reasons discussed in sections II.B.ii and II.G, issues of fact preclude

   summary judgment on this count.

              H. Count II: Fraud under 18 U.S.C. § 1030(a)4).

          The defendants have moved for summary judgment on Ryanair’s fraud claim under section

   1030(a)(4), contending that there is no evidence the defendants knowingly accessed the Ryanair’s

   website with the intent to defraud Ryanair. Their argument about knowing access revisits their

   arguments about vicarious liability addressed above, and will not be addressed again here. The

   defendants also argue there is no evidence of intent to defraud because there is no proof that the

   defendants had the intent to “deceive or to cheat,” see Fidlar Techs. V. LPS Real Estate Data Sols.,

   Inc., 810 F.3d 1075, 1079 (7th Cir. 2016), or that the defendants “contemplated some actual harm

   or injury to their victims,” see United States v. Starr, 816 F.2d 94, 98 (2d Cir. 1987). The

   defendants point to the legislative history of the CFAA to support their contention that proof of an

   “intent to defraud” for purpose of the CFAA must meet an exacting standard. See United States

   v. Czubinski, 106 F.3d 1069, 1078-79 (1st Cir. 1997) (citing S. Rep. No. 432, 99th Cong., 2d Sess.,

   reprinted in 1986 U.S.C.C.A.N. 2479, 2488) (the CFAA’s legislative history distinguishes

   “between computer theft . . . and computer trespass” and that requiring a showing of an intent to

   defraud for purposes of section 1030(a)(4), “is meant to preserve that distinction”).

          Ryanair argues that this court should not apply that restrictive standard for fraud under the

   CFAA. Rather, according to Ryanair, the court should follow the definition of fraud set forth in

   Shurgard Storage Centers, Inc. v. Safeguard Self Storage, Inc., 119 F. Supp. 2d 1121, 1126 (W.D.



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   Wash. 2000), which was adopted by a district court in this circuit. See Volpe v. Abacus Software

   Sys. Corp., No. CV2010108, 2021 WL 2451968, at *5 (D.N.J. June 16, 2021); see also Hanger

   Prosthetics & Orthotics, Inc. v. Capstone Orthopedic, Inc., 556 F. Supp. 2d 1122, 1131 (E.D. Cal.

   2008). The Shurgard court held that under the CFAA, “fraud simply means wrongdoing and not

   proof of the common law elements of fraud.” 119 F. Supp. 2d at 1126. Under that standard,

   Ryanair argues, there is evidence that the defendants acted with the intent to defraud by working

   with their vendors to facilitate unauthorized access to the Ryanair website. In any event, Ryanair

   argues that even under the stricter standard, it has shown that the defendants engaged in fraud

   because they knew their actions were harming Ryanair but continued their course of action

   nonetheless.

          Although the parties focus their briefing on a dispute over the meaning of the phrase “intent

   to defraud,” the cases the parties cite are largely in agreement regarding the proper standard. In

   Fidlar Technologies, the Seventh Circuit held that the phrase “intent to defraud” in the CFAA

   requires a specific intent to “deceive or cheat, usually for the purpose of getting financial gain for

   himself or causing financial loss to another.” 810 F.3d at 1079. 16 In Shurgard, the court held that

   fraud requires the defendant employ “dishonest methods” to carry out a violation of the CFAA.

   119 F. Supp. 2d at 1125–26. Courts applying Shurgard look for evidence of deceit. See, e.g.,

   Volpe, 2021 WL 2451968, at *4–5 (plaintiff sufficiently pleaded fraud under the CFAA by alleging

   that the defendant deceived Apple Inc. into believing the plaintiff, rather than the defendant, was

   accessing the plaintiff’s account); SMH Enterprises, L.L.C. v. Krispy Krunchy Foods, L.L.C, No.



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             The defendants appear to focus on the latter half of the pertinent sentence in the Fidlar
   case to support their argument that they have not caused financial loss to Ryanair because Ryanair
   is paid for its flights. However, in the present case, Ryanair argues that the defendants gain
   something of value through selling Ryanair flights, which invokes the first half of the pertinent
   sentence in Fidlar.
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   CV 20-2970, 2021 WL 1226411, at *5–6 (E.D. La. Apr. 1, 2021) (explaining that the Shurgard

   definition “usually signifies the deprivation of something of value by trick, deceit, chicane, or

   overreaching”) (citation omitted).

          Because section 1030(a)(4) itself requires the defendant to have obtained something of

   value, the element of financial gain is often discussed separately from the element of “intent to

   defraud.” However, the Czubinski court, which both sides cite to as supporting their respective

   proposed standards, explained that the requirement in section 1030(a)(4) that the defendant obtain

   something of value operates like the requirement that there be a deprivation of property for federal

   mail fraud violations. See 106 F.3d at 1079. The court explained that to constitute deprivation,

   “some articulable harm must befall the holder of the information as a result of the defendant’s

   activities, or some gainful use must be intended by the person accessing the information, whether

   or not this use is profitable in the economic sense.” Id. at 1074. That characterization is entirely

   consistent with standard articulated by the court in Fidlar Technologies.

          A genuine issue of material fact precludes summary judgment on this claim. Ryanair has

   produced evidence that the defendants access the Ryanair website by dishonest means, that is, by

   using “false” contact and payment information. Whether or not Ryanair ultimately receives

   payment for the flights booked through the defendant OTAs, Ryanair may still be able to show

   that the defendants have acted act with the intent to deceive Ryanair by using false information to

   obtain something of value: to wit, profitable flight bookings that the defendants would not be able

   to obtain otherwise.

              I. Count V: Conspiracy under 18 U.S.C. § 1030(b).

          The defendants argue that there is no evidence to sustain Ryanair’s conspiracy claim under

   18 U.S.C. § 1030(b), because the defendants’ vendor contracts do not establish a CFAA



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   conspiracy. The defendants argue that because the contracts do not reference Ryanair at all, let

   alone constitute an agreement about how to access Ryanair’s website in violation of the CFAA,

   Ryanair cannot show that the defendants had the specific intent to “further the substantive offense”

   under the CFAA. See United States v. Carbo, 572 F.3d 112, 116 n.2 (3d Cir. 2009). The

   defendants further argue, as they did regarding indirect liability, that they lack control over which

   airlines and flights their vendors source and how their vendors source those flights. Regarding

   BHI and Agoda specifically, the defendants argue there is no agreement with any vendor to source

   Ryanair flights at all.

           Ryanair responds that there is sufficient evidence of conspiracy to justify submitting that

   issue to the jury at trial. Ryanair contends that a conspiracy claim under the CFAA requires

   “evidence of an agreement and common activities in furtherance of the unlawful act,” see Welenco

   Inc. v. Corbell, 126 F. Supp. 3d 1154, 1176 (E.D. Cal. 2015), and that the defendants’ websites

   and vendor agreements provide that evidence. Ryanair’s theory of conspiracy is similar to its

   theory of indirect liability—that the defendants pass specific requests for flight information and

   flight bookings to their vendors via Application Programming Interface (“API”) connections. 17

   This, Ryanair argues, is evidence that the defendants have agreed to violate the CFAA. With

   regard to Agoda, Ryanair argues that Agoda procures its bookings through Priceline and

   Priceline’s vendors. Ryanair also argues that the agreements between the defendants and their

   vendors (or, for Agoda, an agreement between two defendants) constitute evidence of agreement

   to engage in conduct that violates the CFAA. Moreover, Ryanair argues that because the

   defendants can control what airlines are displayed on their websites, the defendants necessarily



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             An API connection allows two systems to exchange data. API connections may integrate
   two or more applications running on the same website or, as the case is here, applications running
   across different websites.
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   make a conscious decision to include Ryanair flights and thus to participate in the conspiracy to

   violate the CFAA as it relates to those flights.

          I addressed the conspiracy claim at the motion to dismiss phase and found that Ryanair had

   plausibly alleged a claim under section 1030(b) on the ground that the defendants had entered into

   agreements with vendors to access the Ryanair website without authorization, despite knowing

   that neither the defendants nor their agents had authorization to do so. See Dkt. No. 105 at 25–27;

   see also In re Lenovo Adware Litig., No. 15-MD-02624, 2016 WL 6277245, at *6 (N.D. Cal. Oct.

   27, 2016) (A claim under section 1030(b) requires “specific allegations of an agreement and

   common activities”).

          Ryanair has now produced sufficient evidence to support those allegations so that summary

   judgment on the conspiracy claim would be inappropriate. The defendants have produced

   contracts with their vendors, as discussed above, demonstrating an agreement to book flights on

   behalf of the defendants. Pursuant to those agreements, the defendants send requests to their

   vendors, which are automated via API connection, to purchase Ryanair flights. Ryanair argues

   that those purchases require circumventing the myRyanair password gate, which could qualify as

   unlawful conduct under the CFAA. Ryanair also points to evidence that the defendants knew or

   should have known that its vendors were accessing protected portions of the Ryanair website

   without authorization, evidence that includes the allegations in the complaint, allegations made in

   Ryanair’s cease-and-desist letters, and, in the case of Booking.com, an inquiry into its vendors’

   screen-scraping practices. See Fuga Decl. Exhs. 24 & 25.

          Ryanair responds to the defendants’ contentions that they do not control which airlines’

   flights are displayed on their websites. Ryanair cites testimony from the defendants’ witnesses

   that they can stop displaying Ryanair flights. See Mao Decl. Exh. 9 at 191:12–193:1 (testimony



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   on how Agoda blocks Ryanair flights); Mao Decl. Exh. 10 at 30:15–22 (testimony that Priceline

   can turn off specific airlines); Hemann Decl. Exh. 12 at 25:1–26:14 (testimony that Booking.com

   can instruct Etraveli to remove certain airlines from the flight information it shares with

   Booking.com).

          Contingent on Ryanair’s ability to prove the alleged unlawful access, a reasonable juror

   could find a knowing “agreement and common activities in furtherance of the unlawful act.” See

   Welenco, 126 F. Supp. 3d at 1176 (citing NetApp, Inc. v. Nimble Storage, Inc., 41 F. Supp. 3d 816

   (N.D. Cal. 2014); Vacation Club Servs., Inc. v. Rodriguez, No. 6:10–cv–247, 2010 WL 1645129,

   at *1–2, (M.D. Fla. Apr. 22, 2010); see also United States v. Koshkin, No. 21-3085, 2024 WL

   1927855 (2d Cir. May 2, 2024) (holding that there was “sufficient evidence from which a jury

   could reasonably” find a conspiracy to commit a violation of the CFAA where the government

   presented evidence that the defendant knew his coconspirator was operating an illegal botnet and

   the defendant provided crypting services for his coconspirator). 18

          Regarding Agoda, the defendants argue for summary judgment on the ground that Agoda

   does not have agreements with vendor. However, Agoda has an agreement with Priceline, under

   which Agoda facilitates bookings of Ryanair flights for its customers via an API connection with

   either Priceline or Priceline’s vendors. See Hemann Decl. Exh. 34 at 9. That is enough to avoid

   summary judgment on the conspiracy count as applied to Agoda.

          Regarding BHI, Ryanair does not dispute that BHI is not party to any vendor agreement—

   which is unsurprising given that BHI is a holding company—nor did it advance any other basis in




          18
              A botnet is a group of computers that can be used for criminal activity, including
   infecting other computers with malware and launching DDoS attacks. Crypting is a service that
   modifies malware so that it cannot be detected by antivirus programs.
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   its briefing for finding BHI liable for conspiracy in for BHI. 19 Because this issue was not addressed

   in the parties’ briefs, I will postpone any ruling on the issue until trial. Accordingly, for present

   purposes, summary judgment is denied as to each of the defendants on Count V.

                 J. Ryanair’s Request for a Permanent Injunction

            The defendants seek summary judgment against Ryanair on its request for a permanent

   injunction on the ground that Ryanair has not shown that it is faced with irreparable harm and has

   not shown that it lacks an adequate remedy at law. See Dkt. No. 335 at 37–38 (citing TD Bank

   N.A. v. Hill, 928 F.3d 259, 278 (3d Cir. 2019). Because Ryanair does not dispute that it is paid for

   the tickets that the defendants purchase from Ryanair on behalf of their customers, the defendants

   argue Ryanair cannot show that it is faced with any irreparable harm.

            The question whether an injunction (or any other form of relief) should be granted is

   premature at this juncture. Entitlement to either legal or equitable relief can be decided by the

   court in the event that there is a finding of liability on any of Ryanair’s CFAA claims.

      IV.        Ryanair’s Motion for Summary Judgment on Booking.com’s State Law
                 Counterclaims

            Booking.com has asserted five state law counterclaims against Ryanair: (1) tortious

   interference with business relations, (2) unfair competition, (3) trade libel, (4) defamation based

   on Ryanair’s statements to customers, 20 and (5) deceptive trade practices. Ryanair argues that for



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               During the argument on the motions for summary judgment, Ryanair suggested that BHI
   could be held liable for conspiring with its wholly owned subsidiary, Booking.com. That
   proposition is questionable in light of the principle that, at least in the antitrust context, a
   corporation cannot conspire with its wholly owned subsidiary. See Copperweld Corp. v.
   Independence Tube Corp., 467 U.S. 752 (1984). The parties should be prepared to address this
   issue at trial in the event that Ryanair seeks to press its claim of conspiracy against BHI.
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              In my order on Ryanair’s motion to dismiss, I dismissed those portions of Booking.com’s
   defamation counterclaim that were based on Ryanair’s public statements but denied the motion to
   dismiss as it related to those portions of Booking.com’s defamation counterclaim that were based
   on Ryanair’s statements to customers. Dkt. No. 134 at 11–17.
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   three reasons summary judgment should be granted in its favor on some or all of the five

   counterclaims. First, Ryanair argues that Booking.com’s counterclaims for defamation, trade libel,

   and deceptive trade practices must fail because Ryanair’s statements underlying those

   counterclaims are true. Second, Ryanair argues that Booking.com cannot prove that Ryanair acted

   wrongfully and thus cannot prevail on its tortious interference and unfair competition claims.

   Third, Ryanair argues that Booking.com cannot prove damages, a required element of tortious

   interference, unfair competition, and trade libel. In its response, Booking.com argues that material

   issues of genuine fact foreclose summary judgment as to any of the defendants’ counterclaims.

               A. Falsity: Booking.com’s defamation, trade libel, and DTPA claims

          In its brief in opposition to Ryanair’s motion for summary judgment, Booking.com points

   to three Ryanair statements that form the bases for Booking.com’s counterclaims of defamation,

   trade libel, and violations of Delaware’s Deceptive Trade Practice Act (“DTPA”), 6 Del C. § 2531

   et seq. 21 Those statements are:

          1. “Unauthorized OTAs . . . use ‘screen scraper’ software to mis-sell Ryanair flights
          in breach of the Terms of Use of the Ryanair website.”

          2. “Screen scraper OTAs provide Ryanair with false customer details which
          prevents us from notifying passengers” and the “false payment and contact details
          screen scraper OTAs provide Ryanair for customers inhibits Ryanair from
          providing our post-contractual obligations.”

          3. “Screen scraper OTAs provide Ryanair with false customer details which
          prevents us from notifying passengers of important safety, security and public
          health requirements.”

   Dkt. No. 372 at 30, 33, 34. Booking.com argues that there is a genuine issue of material fact as to

   the truth of each of those statements.




          21
             The parties agree that the tort claims set forth in Booking.com’s counterclaims are
   governed by Delaware law.
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                      i. Burden of Proof

          The parties disagree about which party has the burden of proof with respect to the issue of

   falsity. In a defamation case, when statements are directed to a matter of public concern, the

   plaintiff bears the burden of proving the statements are false. 22 See Cousins v. Goodier, 283 A.3d

   1140, 1148 n.40 (Del. 2022). Ryanair argues that its emails addressed a matter of public concern

   because “they communicate steps customers must take so that Ryanair can notify them of

   important safety, security and public health requirements, and they inform customers about the

   effects of booking with unauthorized OTAs.” See Dkt. No. 348 at 27 n.14 (quotations omitted).

   Booking.com argues that the emails were merely part of Ryanair’s effort to encourage customers

   to use Ryanair’s website instead of using an OTA to book flights. For that reason, Booking.com

   argues, the emails do not address a matter of public concern, and therefore Ryanair, not

   Booking.com, has the burden of proof on the issue of falsity. See Dkt. No. 372 at 30 n.12.

          “Speech deals with matters of public concern when it can ‘be fairly considered as relating

   to any matter of political, social, or other concern to the community,’ or when it ‘is a subject of

   legitimate news interest; that is, a subject of general interest and of value and concern to the

   public.’” Snyder v. Phelps, 562 U.S. 443, 453 (2011) (citations omitted). “To determine

   whether speech is of public or private concern, [the court] must independently examine the

   ‘content, form, and context’ of that speech” in light of the whole record. Id.




          22
             Falsehood is an element of Booking.com’s trade libel and deceptive practices claim, and
   Booking.com therefore has the burden of proof to show that Ryanair’s statements were false. See
   In re Nat'l Collegiate Student Loan Trs. Litig., No. CV 12111, 2020 WL 3960334, at *4 (Del. Ch.
   July 13, 2020) (explaining that “trade libel” is “predicated on ‘the knowing publication of false
   material that is derogatory to the plaintiff's business.’”); 6 Del. C. § 2532(a)(8) (defining one
   deceptive practice as “[d]isparag[ing] the goods, services, or business of another by false or
   misleading representation of fact”); see also Dkt. No. 111 at 72–73 (alleging a deceptive trade
   practice claim based on Ryanair’s assertedly false or misleading statements).
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          Ryanair’s emails to passengers who booked flights through OTAs address a matter of

   private concern. While safety, security, and public health requirements are often matters of public

   concern, the content, form, and context of Ryanair’s emails make clear that Ryanair was addressing

   a matter of private concern. The content of the speech did not directly address issues of safety,

   security, and public health, but rather informed customers who booked Ryanair flights through an

   OTA that Ryanair may not have their correct contact information, which could prevent Ryanair

   from disseminating information to them about “safety, security, and public health protocols.” See

   Dkt. No. 111 at 60–61. Essentially, the email addressed Ryanair’s business practice regarding the

   dissemination of relevant information to its customers by email.

          The form and context of the Ryanair emails also indicate that the subject of the emails was

   a matter of private concern. While not dispositive, see Cousins, 283 A.3d at 1152, Ryanair’s use

   of private emails sent to a subset of its customers on a specific subject pertinent to those customers

   supports the conclusion that the emails addressed a matter of private concern. Compare Synder,

   562 U.S. at 454–55 (protest on public land next to a public street was of public concern), and

   Cousins, 283 A.3d at 1152 (an email relating to a local political issue that was widely shared on

   Facebook with members of the plaintiff’s professional and geographic community was a matter of

   public concern), with Dun & Bradstreet, Inc. v. Greenmoss Builders, Inc., 472 U.S. 749, 762

   (1985) (an individual’s credit report shared by a business with a limited number of subscribers was

   a matter of private concern). Because the Ryanair emails do not address a matter of public concern,

   Ryanair bears the burden of proof on the issue of falsity.

                      ii. Statement 1: “Unauthorized OTAs . . . use ‘screen scraper’ software to
                          mis-sell Ryanair flights in breach of the Terms of Use of the Ryanair
                          website.”

          Ryanair argues that Statement 1 is true in its entirety. First, Ryanair contends that it is

   accurate to say that the OTAs use “screen scraper” software because Booking.com sells its flights
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   exclusively through Etraveli, and Booking.com is aware that Etraveli uses screen scraping. See

   Fuga Decl. Exh. 3 at 40:5–8, 43:9–16; Fuga Decl. Exh. 24 at BOOKING.COM00002386; Fuga

   Decl. Exh. 25. Second, Ryanair argues that in this context the term “mis-sell” means to sell flights

   without authorization and in violation of Ryanair’s terms of use. In support, Ryanair cites my

   order on Ryanair’s motion to dismiss the counterclaims, in which I stated that “the assertion that

   Booking.com is ‘unauthorized’ is true, as it is undisputed that Ryanair has not authorized

   Booking.com to sell tickets for Ryanair flights.” Dkt. No. 134 at 13.

          In its response, Booking.com argues (1) that the evidence clearly shows that Booking.com

   itself does not access Ryanair’s website, nor has it agreed to Ryanair’s terms of use such that

   Booking.com has breached any obligation to Ryanair; (2) that Booking.com does not “mis-sell”

   Ryanair flights, as mis-selling refers to the act of misleading customers in order to make a sale;

   and (3) that Booking.com does not “mis-sell” Ryanair flights by selling tickets contrary to

   Ryanair’s terms of use, because Booking.com does not go onto the Ryanair website.

          There is a genuine dispute as to the truth of the first half of Statement 1. Whether Etraveli

   uses screen scraping is contested. Ryanair’s own evidence is not conclusive on this issue: It shows

   that Booking.com asked Etraveli about screen scraping, see Fuga Decl. Exh. 24, and that

   Booking.com received a response that explained how Etraveli uses a screen-scraping process, see

   Fuga Decl. Exh. 25. However, Etraveli’s response makes clear that Etraveli does not always use

   screen scraping, and it does not confirm what process Etraveli uses on the Ryanair website

   specifically. See Fuga Decl. Exh. 25. Booking.com disputes that Ryanair can show that any of

   the defendants’ vendors, including Etraveli, access the Ryanair website by the use of screen-

   scraping bots, see supra section III.D.




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           There is, however, no dispute as to the truth of the second half of the sentence. Ryanair

   argues that the sentence, read in full, defines mis-selling flights by reference to the Ryanair

   website’s terms of use (“OTAs . . . mis-sell Ryanair flights in breach of the Terms of Use of the

   Ryanair website.”) See Dkt. No. 111 at 61. Booking.com argues that Ryanair itself is not

   consistent as to what “mis-selling flights” means, as Ryanair’s CEO used the term “mis-sell” to

   refer to inflating the costs of Ryanair flights and selling outside of the Ryanair website. See

   Declaration of Kathleen Hartnett (“Hartnett Decl.”), Dkt. No. 374, Exh. D at 8:8–12, 20:8–18. In

   addition, Booking.com points out that the term “mis-sell” refers to a crime in the United Kingdom

   (perhaps forgetting for the moment that the Republic of Ireland is decidedly not a part of the

   U.K.). 23

           In the context of the statement at issue, however, it is evident that the use of the term “mis-

   sell” is cabined by the phrase “in breach of the Terms of Use of the Ryanair website.” No

   reasonable reader would assume that the term “mis-sell” in Statement 1 refers to a criminal act,

   even if the term “mis-sell” standing alone would be open to multiple meanings. 24

           Booking.com also focuses heavily on the undisputed fact that Booking.com itself does not

   access Ryanair’s website. However, Ryanair is correct that its statement is still “substantially true”

   if Etraveli, rather than Booking.com, scrapes the Ryanair website and does so at Booking.com’s

   behest. See Riley v. Moyed, 529 A.2d 248, 253 (Del. 1987) (“[T]here is no liability for defamation




           23
              See Financial services mis-selling: regulation and redress, National Audit Office (Feb.
   24, 2016), https://www.nao.org.uk/reports/financial-services-mis-selling-regulation-and-redress
   (defining mis-selling as “providing customers with misleading information or recommending that
   they purchase unsuitable products”).
           24
              Ryanair argues in its reply brief that the “innocent construction rule” applies here. See
   Dkt. No. 380 at 12 (arguing that a statement that can reasonably be given an innocent interpretation
   is not actionable). However, the “innocent construction rule” is a minority rule not followed by
   Delaware. See Rodney A. Smolla, LAW OF DEFAMATION § 4:21 (2d ed. 2024).
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   when a statement is determined to be substantially true.”) Under Delaware law, “[i]f the alleged

   libel was no more damaging to the plaintiff’s reputation in the mind of the average reader than a

   truthful statement would have been, then the statement is substantially true.” Id. In this case, it

   would be no more damaging to say Booking.com uses third party vendors to screen scrape the

   Ryanair website than to say that Booking.com does the screen scraping itself. Accordingly,

   Booking.com’s argument that it does not itself access the Ryanair website to screen-scrape the

   website in violation of Ryanair’s terms of use does not negate the truth of Ryanair’s statement if

   Ryanair can prove that Booking.com’s vendors take that action at the behest of Booking.com.

                     iii. Statement 2: “Screen scraper OTAs provide Ryanair with false
                          customer details which prevents us from notifying passengers” and
                          “false payment and contact details screen scraper OTAs provide
                          Ryanair for customers inhibits Ryanair from providing our post-
                          contractual obligations.”

          This statement is part of an email that Ryanair is alleged to have sent to customers who

   appeared to Ryanair to have purchased tickets through an OTA. The email in question added that

   the false customer details prevented Ryanair from notifying passengers “of important safety,

   security, and public health requirements.” Dkt. No. 111 at 60. Ryanair argues that there is no

   genuine issue of material fact as to the truth of its statements that OTAs provide “false” customer

   information because (1) Booking.com admitted it does not share customer credit card information

   with Etraveli; (2) Booking.com is not aware of whether Etraveli provides the customer’s correct

   email address to Ryanair, and (3) according to Ryanair expert Iain Lopata, Booking.com uses

   disposable email addresses and virtual credit card numbers to create myRyanair accounts. See

   Fuga Decl. Exh. 3 at 87:18–88:8, 102:3–20; Lopata Decl. ¶¶ 10(d), 20–37.

          Booking.com argues that there is a genuine dispute regarding the truth of this statement for

   three reasons. First, Booking.com again argues that it does not directly access the Ryanair



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   website. 25 Second, Booking.com argues that the term “false” in the statement suggests that the

   customer’s information in question is “illegitimate” or “fraudulent” rather than simply not the

   passenger’s actual contact information, since there is no dispute that Ryanair gets paid for the OTA

   bookings. See Hemann Decl. Exh. 7 at 30:20–23; Hemann Decl. Exh. 6 at 175:25–176:4. Third,

   Booking.com argues that the evidence shows that Ryanair receives the passenger’s own contact

   information for bookings. See Lopata Decl. ¶ 34(n); Hemann Decl. Exh. 41 at 78–86; Hartnett

   Decl. Exh. L at 15, Row 2 (customer email was correct); Hartnett Ex. N at 1 of 10, Row 3

   (customer’s “own email and credit card”), 3 of 10, Row 2 (“email correct”); 8 of 10, Row 18 (“mail

   ok”).

           There is a genuine dispute as to the truth of Ryanair’s statement. First, the parties dispute

   whether a reader of the email would interpret the email to mean that Booking.com provided

   information other than the customers’ information or whether Booking.com provided fraudulent

   information. Ryanair argues that, in context, the reference to “false” details means “incorrect”

   details, because Ryanair states that receiving such “false” information prevents Ryanair from

   “notifying passengers” and “providing its post-contractual obligations.” See Dkt. No. 111 at 60.

   Booking.com argues that the term “false” implies that Booking.com engaged in fraudulent

   payment methods. Here, it is not clear in context whether Ryanair’s alleged inability to notify

   customers and satisfy its contractual obligations is due to its receipt of incorrect or fraudulent

   information. Because the email is open to multiple meanings, “it is for ‘the trier of fact [to]

   determine whether the language used was actually understood in its defamatory sense.’” See




           25
             For the reasons addressed in the discussion of Statement 1, if it is true that Etraveli
   provides Ryanair with “false” payment information and customer emails at Booking.com’s behest,
   then Ryanair’s statement would still be substantially true because Booking.com makes its bookings
   through Etraveli.
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   Bobcat N. Am., LLC v. Inland Waste Holdings, LLC, No. N17C-06-170, 2019 WL 1877400, at *17

   (Del. Super. Ct. Apr. 26, 2019) (quoting NITV, L.L.C. v. Baker, 61 So. 3d 1249, 1252 (Fla. Dist.

   Ct. App. 2011)). 26

          Second, there is a genuine dispute as to whether Booking.com provides incorrect customer

   information to Ryanair. Regarding customer payment information, Ryanair’s own evidence is not

   conclusive. The cited deposition testimony states that under one model, Booking.com provides

   the customer’s credit card information to Etraveli, but under a second model, it does not. Fuga

   Decl. Exh. 3 at 87:18–88:8. Booking.com points to evidence that at least one Ryanair booking

   made through Booking.com is associated with the passenger’s “own email and credit card.”

   Declaration of Kathleen Hartnett (“Hartnett Decl.”), Dkt. No. 374, Exh. N. at RYANAIR-

   BOOKING_0040319 1 of 10, row 3. Ryanair relies on its expert’s testimony to support its

   contention that Ryanair does not receive the correct customer email addresses from purchases

   made through Booking.com, see Lopata Decl. ¶¶ 20–37. Booking.com, however, responds that in

   most cases “the Defendants provided the correct customer email address to Ryanair, even though

   it was not used to create the myRyanair account.” Id. at ¶ 34(n); see Hartnett Decl. Exh. L at 15

   of 24, row 2 (“Email was correct” for a Ryanair booking); Hartnett Decl. Exh. M at 2. In short,

   there is a factual dispute as to whether Ryanair’s statement is true or substantially true.




          26
              While the Superior Court of Delaware in the Bobcat case was applying Florida law, the
   elements of defamation under Florida law are the same as the elements of defamation under
   Delaware law. Compare id. (“Florida law provides, [t]o establish a cause of action for defamation,
   a plaintiff must show that (1) the defendant published a false statement about the plaintiff, (2) to a
   third party, and (3) the falsity of the statement caused injury to the plaintiff”) (internal quotation
   marks omitted), with Grubbs v. Univ. of Del. Police Dep’t, 174 F. Supp. 3d 839, 861 (D. Del.
   2016) (“To state a cause of action for defamation under Delaware law, a plaintiff must plead . . .
   (1) the defamatory character of the communication; (2) publication; (3) that the communication
   refers to the plaintiff; (4) a third party's understanding of the communication's defamatory
   character; and (5) injury.”).
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                       iv. Statement 3: “Screen scraper OTAs provide Ryanair with false
                           customer details which prevents us from notifying passengers of
                           important safety, security and public health requirements.”

          Booking.com’s Statement 3 substantially overlaps with Statement 2, adding only the

   portion of the statement asserting that the false customer details provided by the OTAs prevent

   Ryanair from notifying its passengers “of important safety, security and public health

   requirements.” In its counterclaims, Booking.com characterized Ryanair’s third statement as an

   assertion that “OTAs, including Booking.com, fail to ‘confirm compliance with required safety,

   security and public health protocols’ or ‘requirements.’” See Dkt. No. 111 at 71. From both sides’

   briefing, however, it is apparent that the latter statement does not appear in any of the Ryanair

   emails that Booking.com has pointed to as actionable. Statement 3, as Booking.com has now

   framed it, cannot be treated as a separate defamatory statement.

                       v. Actual Malice

          Ryanair argues that Booking.com cannot prove its trade libel claim or request punitive

   damages for its defamation claim, because both require Booking.com to prove that Ryanair acted

   with actual malice. Ryanair asserts that Booking.com has not made such a showing because the

   evidence shows that Ryanair did not make the challenged statements with knowledge of their

   falsity or with reckless disregard for their truth or falsity. Dkt. No. 348 at 31.

          Booking.com argues that Ryanair has not shown that the “actual malice” standard applies

   to this case. Even if it does, Booking.com argues, there is evidence that Ryanair acted with actual

   malice because Ryanair’s internal records show (1) that Booking.com provided Ryanair with

   correct customer email addresses and (2) that Ryanair knew it did. Additionally, Booking.com

   argues that the actual malice standard does not apply to its defamation claim because Ryanair’s

   speech constitutes commercial speech to which the actual malice standard does not apply. Dkt.

   No. 372 at 35–36.
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          As Ryanair points out, I have already addressed this issue and have held that a claim for

   trade libel requires a plaintiff to show that the defendant acted with actual malice. See D.I. 134 at

   17 (citing Nat’l Collegiate Student Loan Trs. Litig., 2020 WL 3960334, at *4; Restatement

   (Second) of Torts § 623A cmts. d, g.). Thus, Booking.com is incorrect in asserting that Ryanair

   has failed to show that the “actual malice” standard applies in this case. 27 In addition, a plaintiff

   ordinarily must show actual malice to be awarded punitive damages. See Cousins, 283 A.3d at

   1149 n.42. However, if Booking.com is correct that Ryanair’s emails are properly characterized

   as commercial speech, then the heightened standard of actual malice does not apply to

   Booking.com’s defamation claim.          See U.S. Healthcare, Inc. v. Blue Cross of Greater

   Philadelphia, 898 F.2d 914, 937 (3d Cir. 1990).

          For purposes of Booking.com’s trade libel claim, there is a genuine factual dispute as to

   whether Ryanair made its statements that OTAs have provided Ryanair with false customer

   information, knowing that the statements were false or, alternatively, whether Ryanair made those

   statements in reckless disregard of their truth or falsity. As discussed previously, there is a genuine

   dispute as to whether Ryanair receives incorrect information from bookings made by OTAs.

   Booking.com relies on Ryanair’s own records to show that Ryanair often received correct



          27
              To the extent Booking.com is referring to Ryanair’s argument at the motion to dismiss
   stage that actual malice applies to Booking.com’s defamation claims because Booking.com is a
   public figure, Booking.com is correct that Ryanair has not substantiated that claim for purposes of
   summary judgment. In its opening summary judgment brief, Ryanair argued that Booking.com
   must show actual malice as it relates to Booking.com’s trade libel claim and punitive damages for
   defamation. See Dkt. No. 348 at 31. In its reply brief, Ryanair additionally argued that
   Booking.com is a limited purpose public figure but its only analysis on that argument appeared in
   a parenthetical stating “Booking is a public figure because its use of the Ryanair logo suggests to
   the public that it has authorization to sell Ryanair flights.” See Dkt. No. 380 at 15. That argument
   falls far short of showing that Booking.com has thrust itself into a public controversy and thus
   “effectively assumed the risk of potentially unfair criticism.” See Computer Aid, Inc. v. Hewlett-
   Packard Co., 56 F. Supp. 2d 526, 536–537 (E.D. Pa. 1999).

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   customer email addresses, even if the customer’s myRyanair account was initially opened with a

   temporary email address that was not the customer’s real email address. See, e.g., Lopata Decl.

   ¶ 34(n); Hemann Decl. Exh. 41 at 73–86. At trial, Booking.com will need to demonstrate that such

   knowledge is attributable to “the individuals actually involved in approving the publication” of the

   accused statement, not merely to Ryanair as an institution. Page v. Oath Inc., 270 A.3d 833, 850

   (Del. 2022). For present purposes, however, Booking.com has produced sufficient evidence to

   show that there is a genuine factual dispute on that issue and thus to avoid summary judgment.

          Regarding Ryanair’s statement that the OTAs use screen-scraper software to mis-sell

   flights, Booking.com relies heavily on its understanding of the term “mis-sell.” See Dkt. No. 372

   at 35–36. Having already determined that “mis-sell” is best understood to refer to violations of

   the Ryanair website’s terms of use, there is no evidence that Ryanair made that statement with

   knowledge that the statement was false or was made in reckless disregard of its truth or falsity. In

   fact, there is no dispute that OTAs violate the terms of use of Ryanair’s website, which explicitly

   state that Ryanair’s website is the only website authorized to sell Ryanair flights and explicitly

   prohibit screen scraping. Dkt. No. 76-1. Regarding the first half of the subject statement— that

   “Unauthorized OTAs . . . use ‘screen scraper’ software”—there is also no evidence that Ryanair

   acted with actual malice.      Even if Ryanair cannot show that, as applied to Booking.com,

   Booking.com’s vendor did not use screen scraping software, there is nothing to suggest that

   Ryanair knew that statement was false or acted with reckless disregard to its truth as it relates to

   OTAs generally.

          For purposes of Booking.com’s defamation claim, there is a genuine factual dispute as to

   whether Ryanair’s statements are properly characterized as commercial speech, and thus whether

   the actual malice standard applies. In determining whether speech is commercial, courts consider

   factors such as whether the speech is an advertisement, whether the speech refers to a specific product
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   or service, and whether the speaker had an economic motivation for making the statements in question.

   U.S. Healthcare, 898 F.2d at 933. Neither party has developed this argument at this stage, but it is

   evident that the parties continue to dispute whether Ryanair’s speech was economically motivated.

   Booking.com argues that Ryanair’s emails are part of its anti-OTA business strategy, whereas

   Ryanair argues that its emails are motivated by its need to comply with relevant regulations. 28

               B. Booking.com’s Tortious Interference and Unfair Competition Claims

          The elements of tortious interference with prospective business relations under Delaware

   law are (1) a reasonable probability of a business opportunity; (2) intentional interference by the

   defendant with that opportunity; (3) proximate causation; and (4) damages. Empire Fin. Servs.,

   Inc. v. Bank of N.Y. (Del.), 900 A.2d 92, 98 n.19 (Del. 2006) (citation omitted); see also Mondero

   v. Lewes Surgical & Med. Assocs., P.A., No. 14-588, 2018 WL 1532429, at *4 (D. Del. Mar. 29,

   2018). The tort of unfair competition overlaps substantially with tortious interference with

   prospective business relations. The elements of unfair competition are: (1) that the plaintiff has a

   reasonable expectancy of entering a valid business relationship; (2) that the defendant wrongfully

   interferes with that relationship; and (3) that the defendant thereby defeats the plaintiff’s legitimate

   expectancy and causes him harm. Ethypharm S.A. France v. Abbott Lab’ys, 598 F. Supp. 2d 611,

   618 (D. Del. 2009), vacated on other grounds, 707 F.3d 223 (3d Cir. 2013) (quoting Total Care

   Physicians, P.A. v. O’Hara, 798 A.2d 1043, 1057 (Del. Super. Ct. 2001)).



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              Although it was not developed as part of the briefing on defamation, Booking.com
   elsewhere in its brief points to sufficient evidence to raise a genuine question for trial as to whether
   this speech was economically motivated. See Dkt. No. 372 at 37. In particular, Booking.com
   points to evidence that Ryanair’s marketing strategy is to decrease the number of Ryanair flights
   booked via OTAs. See Hemann Decl. Exh. 18 (summarizing the communications plan to address
   OTA bookings); Hartnett Decl. Exh. P (listing digital customer verification as part of its strategy
   to “[g]et customers to make direct bookings on the Ryanair [sic] and not use OTAs”); Hartnett
   Decl. Exh. Q (describing Ryanair’s anti-OTA strategy); Hartnett Decl. Exh. R (listing emails to
   customers who book through OTAs as one item “for the next round of OTA disruption.”).
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          Ryanair argues that Booking.com cannot prevail on its tortious interference and unfair

   competition claims because Booking.com cannot demonstrate either that Ryanair acted wrongfully

   by sending the relevant emails to its customers or that Ryanair knowingly interfered with

   Booking.com’s business relationships by addressing customers who booked through OTAs

   generally. Booking.com argues that genuine disputes of material fact preclude summary judgment

   on both elements.

                       i. Wrongful Conduct

          Under Delaware law, tortious interference claims are limited by the defendant’s right “to

   compete or protect his business interests in a fair and lawful manner.” Lipson v. Anesthesia

   Services, P.A., 790 A.2d 1261, 1285 (Del. Super. 2001) (citing DeBonaventura v. Nationwide Mut.

   Ins. Co., 419 A.2d 942 (Del. Ch. 1980), aff'd, 428 A.2d 1151 (Del. 1981)). The plaintiff has the

   burden to prove that the alleged tortious interference constituted wrongful interference, as opposed

   to permissible competition. Id. at 1287. Whether the competitor used “wrongful means” turns on

   whether the competitor used tactics that are independently actionable. See CGB Occupational

   Therapy, Inc. v. RHA Health Servs. Inc., 357 F.3d 375, 388 (3d Cir. 2004); Com. Nat. Ins. Servs.,

   Inc. v. Buchler, 120 F. App’x 414, 419 (3d Cir. 2004). 29

          Ryanair argues that because it has a financial interest in having its customers book their

   flights directly through Ryanair, and because Ryanair risks violations of law if it cannot provide

   the legally required notifications to its customers who booked Ryanair flights on Booking.com,

   Ryanair’s statements to customers were necessarily permissible for the purposes of its tortious

   interference claim. Booking.com responds that a genuine dispute of material fact precludes



          29
               While the CGB Occupational Therapy court was applying Pennsylvania law, both
   Pennsylvania and Delaware follow the Second Restatement of Torts on this issue. See Com Nat.
   Ins. Servs. Inc., 120 F. App’x at 419; Lipson, 790 A.2d at 1287.
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   summary judgment on this issue because Booking.com has adduced evidence that Ryanair’s

   verification procedure, described in its emails to its customers, is part of an anti-OTA business

   strategy.

          The relevant question is not whether Ryanair has an “anti-OTA business strategy,” but

   whether Ryanair has used tactics that are unlawful. There is nothing inherently unlawful about

   Ryanair competing with OTAs or attempting to persuade passengers who book through OTAs to

   book with Ryanair directly instead. See Buchler, 120 F. App’x at 419 (“A competitor does not

   ‘wrongfully interfere’ with its competitor's at-will customers by simply competing for their

   business”) (citing Restatement (Second) of Torts § 768). However, Ryanair’s privilege does not

   authorize it to use unlawful tactics. Because I have held that Booking.com’s defamation claim

   survives Ryanair’s motion for summary judgment, there remains a factual dispute as to whether

   Ryanair implemented its strategy through improper means, in this case by defamatory statements.

   Whether Booking.com can ultimately carry its burden to establish wrongful means is a question

   of fact for the jury. See Lipson, 790 A.2d at 1287–88; see also U.S. Bank Nat’l Ass’n v. Gunn, 23

   F. Supp. 3d 426, 436–37 (D. Del. 2014).

                     ii. Intentional Interference

          Ryanair argues that it did not have the required degree of knowledge to intentionally

   interfere with Booking.com’s prospective business relations by sending emails to suspected OTA

   customers. Dkt. No. 348 at 35–36 (citing Shure Inc. v. ClearOne, Inc., No. CV 19-1343, 2021

   WL 4894198, at *2 (D. Del. Oct. 20, 2021) (“It would be hard to ‘intentionally interfere’ with

   something that was not known.”)). Ryanair argues that because OTAs conceal their identity to

   evade detection, Ryanair could not have known whether it was communicating with a




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   Booking.com customer when Ryanair sent emails to customers suspected of having used OTAs to

   book flights.

          Ryanair determines based on various metrics (e.g., email addresses, payment details, and

   IP country of origin) that particular customers are likely to have used OTAs to book flights, but it

   does not know which OTA booked a particular customer’s flights. See Fuga Decl. Exh. 26 at

   32:15–34:22 (“[W]e don’t know who each individual booking belongs to.”); Fuga Decl. Exh. 29

   at 42:18–43:9, 163:29–164:14 (“I don’t know . . . who is the OTA behind that . . . they’re all hiding

   now, and that’s the challenge that we have.”). Ryanair does not dispute that among the customers

   to whom it sends the “OTA emails” there are likely to be customers of Booking.com, but it argues

   that it sends those emails to particular customers because those customers have a booking that is

   flagged as an OTA booking, not because Ryanair knows that Booking.com is the OTA in a

   particular case.

          Booking.com responds that there is sufficient evidence to show knowledge by Ryanair that

   some of the customers who receive its emails are likely to have booked their flights through

   Booking.com, or at least enough evidence to create a disputed question of fact on that issue.

   Booking.com cites Ryanair’s internal records to show that Ryanair specifically targets

   Booking.com customers. See Hemann Decl. Exh. 18 (listing litigation against Booking.com as

   part Ryanair’s “OTAs – Comms Plan”); Hartnett Decl. Exh. V (email and attachment listing

   Booking.com on Ryanair’s “OTA Cheat Sheet”); Hartnett Decl. Exh. M (listing Booking.com as

   one of the OTAs selling Ryanair flights in Ryanair’s OTA Review from August 2023); Hartnett

   Decl. Exh. CC (referring to Booking.com as an “OTA Pirate” on Ryanair’s blog in January 2024).

          Booking.com is correct that from those facts, a reasonable jury could infer that Ryanair

   knew Booking.com customers were among the OTA customers to whom it has sent emails. See



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   Shure, 2021 WL 4894198, at *3. In response, Ryanair asserts that in order to prevail on its

   intentional interference charge, Booking.com must be able to show not only that Ryanair had such

   knowledge but that Ryanair’s “primary intent” in sending those emails was to target Booking.com

   customers specifically. See Dkt. No. 380 at 17 (citing Buchler, 120 F. App’x at 418–19).

          That proposition misstates the applicable law. The Buchler court did not apply a “primary

   intent” test. Moreover, Delaware courts have explained that whether the defendant’s motive was

   at least partly competitive is only one factor in determining whether an interference is improper

   and is not, by itself, dispositive. See Beard Rsch., Inc. v. Kates, 8 A.3d 573, 611 (Del. Ch.), aff'd

   sub nom. ASDI, Inc. v. Beard Rsch., Inc., 11 A.3d 749 (Del. 2010); Lipson, 790 A.2d at 1287–88

   (whether an interference is improper is a multi-factor inquiry that is “typically a question of fact

   for the jury”); see also Restatement (Second) of Torts, § 767. Ryanair is therefore not entitled to

   summary judgment of no intentional interference based on the absence of evidence of knowledge.

              C. Damages

          Ryanair argues that Booking.com’s tortious interference, unfair competition, and trade

   libel claims fail because Booking.com cannot prove that it suffered a compensable injury as a

   result of Ryanair’s emails to customers.

                      i. Admissibility of Customer Complaints

          Booking.com seeks to rely on customer complaints about the emails its customers received

   from Ryanair, which led the customers to complain that Booking.com had acted improperly in the

   course of booking their flights. Ryanair responds that Booking.com’s reliance on customer

   complaints is insufficient to establish that it has lost business and good will among customers.

   Ryanair first argues that Booking.com’s customer complaints are inadmissible hearsay.             In

   addition, Ryanair points out that many of the comments relied upon by Booking.com are



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   unauthenticated translations from languages other than English. And even if the customer

   complaints are admissible, Ryanair argues, Booking.com has made no showing that it suffered any

   pecuniary loss as a result of those complaints. To the contrary, Ryanair points out, the evidence

   shows that Booking.com’s sales of Ryanair flights increased during the period at issue in this case.

          In its brief, Booking.com responds that its customer complaints are admissible as business

   records under Federal Rule of Evidence 803(6), as evidence of the customer’s then existing state

   of mind or emotional condition under Rule 803(3), or as the customer’s present sense impressions

   under Rule 803(1). Booking.com also argues that the complaints are offered for a purpose other

   than for the truth of the matters asserted in the complaints; in particular, Booking.com argues that

   the complaints are admissible to show that customers were unhappy with Booking.com, thus

   supporting Booking.com’s theory of economic reputational harm. Booking.com further notes that

   while the number of its Ryanair bookings have increased over time, the growth rate for its sales of

   Ryanair flights has been low relative to the growth rate for other sales, which supports its theory

   that it has suffered damages attributable to Ryanair’s alleged acts of tortious interference, unfair

   competition, and trade libel.

          During the hearing on the summary judgment motions, Booking.com withdrew its

   argument that customer complaints are admissible as business records under Rule 803(6) because

   Booking.com collects and maintains those complaints. Wisely so, as that argument was plainly

   wrong. To qualify as a business record under Rule 803(6), the record of an event must be one

   made in “the course of a regularly conducted business activity.” Fed. R. Evid. 803(6); see United

   States v. Pelullo, 964 F.2d 193, 200 (3d Cir. 1992) (Rule 803(6) requires that “the declarant made

   the record in the regular course of the business activity”); Rowland v. Am. Gen. Fin., Inc., 340 F.3d

   187, 194–95 (4th Cir. 2003) (same); United States v. Baker, 693 F.2d 183, 189 (D.C. Cir. 1982)



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   (Rule 803(6) only applies if “every . . . participant in the chain producing the record” is acting in

   the regular course of business). Customer complaints are not business records, because the

   customer typically is not acting in the regular course of business activity when making the

   complaint. See, e.g., Rowland, 340 F.3d at 195; Kendall v. Bausch & Lomb Inc., No. CIV. 05-

   5066, 2011 WL 860447, at *5 (D.S.D. Mar. 9, 2011) (customer complaints received by a party are

   not business records); ADT LLC v. Alarm Prot. LLC, No. 9:15-CV-80073, 2017 WL 1881957, at

   *2 (S.D. Fla. May 9, 2017) (same).

          Even if the log of customer complaints kept by Booking.com is itself is a business record,

   the complaints present a double hearsay problem: a record of the receipt of complaints may be

   business records, but the customers’ complaints are not. And the complaints themselves must be

   independently admissible for the contents of the complaints to be allowed into evidence. See

   Rowland, 340 F.3d at 195; Salas v. Toyota Motor Sales, No. 2:15-CV-08629, 2024 WL 1083078,

   at *4 (C.D. Cal. Feb. 2, 2024); QVC, Inc. v. MJC Am., Ltd., No. CIV.A. 08-3830, 2012 WL 33026,

   at *2 (E.D. Pa. Jan. 6, 2012).

          There is considerably more force to Booking.com’s argument that complaints that

   specifically state an intention not to book flights through Booking.com in the future are admissible

   under Rule 803(3) as “[a] statement of the declarant’s then-existing state of mind.” See, e.g.,

   Hartnett Decl. Exh. W (“I have been advised by Ryanair that they have NO commercial

   relationship with booking.com and that the booking I have paid for has been blocked. . . . I have

   been a Genius level customer for years but no more.”); Hartnett Decl. Exh. X (“I will never use

   booking.com to make a reservation again after this experience [booking a Ryanair flight through

   Booking.com]”).




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          Such evidence is admissible under Rule 803(3) to show a customer’s then-existing state of

   mind, including the customer’s intent or plan. See GF Princeton, L.L.C. v. Herring Land Grp.,

   L.L.C., 518 F. App'x 108, 113 (3d Cir. 2013) (“Testimony as to customer motivation is admissible

   as an exception to hearsay under Fed. R. Evid. 803(3)”); Callahan v. A.E.V., Inc., 182 F.3d 237,

   251–52 (3d Cir. 1999) (same). 30

          Citing the Third Circuit’s decision in Callahan, Ryanair argues that while the customers’

   complaints can be admitted to show the customers’ intentions (such as the expressed intention to

   stop doing business with Booking.com), the complaints cannot be used to show that declarants

   acted in conformity with that expressed intent. That is a misreading of Rule 803(3) and Supreme

   Court and Third Circuit authority.

          In Mutual Life Ins. Co. v. Hillmon, 145 U.S. 285 (1892), the Supreme Court held that a

   statement of the declarant’s intent is admissible not only to show the declarant’s intention, but also

   as evidence that he acted on that intention. The Advisory Committee note on Federal Rule of

   Evidence 803(3) made clear that the current rule embraces that holding. As the Advisory

   Committee wrote, “The rule of [Hillmon], allowing evidence of intention as tending to prove the


          30
              Booking.com also argued in its brief that the customers’ complaints were admissible
   under Federal Rule of Evidence 803(1), the exception to the hearsay rule for present sense
   impressions. The problem with that argument is that Booking.com has not offered any evidence
   that the declarations described or explained “an event or condition, made while or immediately
   after the declarant perceived it,” which is a necessary condition for admission of a statement under
   that exception.
           To the extent that customer statements do not go to the customers’ state of mind, they are
   not admissible under Rule 803(3). As Booking.com argues, however, such statements are still
   admissible for the non-hearsay purpose of showing that customers complained to Booking.com
   following their receipt of emails from Ryanair. See Allscripts Healthcare, LLC v. Andor Health,
   LLC, No. CV 21-704, 2022 WL 17403121, at *1–2 (D. Del. Aug. 9, 2022) (customer complaints
   are not hearsay when offered as evidence that complaints were made rather than for the truth of
   what was complained about).




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   doing of the act intended, is, of course, left undisturbed.” The Third Circuit has said the same

   thing. See Kos Pharms., Inc. v. Andrx Corp., 369 F.3d 700, 719 (3d Cir. 2004) (“To the extent

   such statements address the speaker's plans . . . , they create an inference that the declarant acted

   in accord with that plan.”); United States v. Donley, 878 F.2d 735, 737–38 (3d Cir. 1989) (same));

   see also Janssen Pharms., Inc. v. Tolmar, Inc., No. 21-1784, 2024 WL 834762, at *14-15 (D. Del.

   Feb. 26, 2024) (same). 31

          In any event, it is not necessary to probe the extent to which the customer complaints

   admitted under Rule 803(3) can be used to prove that the customers acted consistently with their

   expressed intentions and that Booking.com lost business as a consequence. That is because at the

   hearing on the summary judgment motions, Booking.com expressly disclaimed reliance on the

   customers’ complaints to show that the customers in fact stopped doing business with

   Booking.com and that Booking.com suffered financial injury as a result. The court will hold

   Booking.com to that disclaimer.

          Ryanair argues that several of the customer comments are inadmissible because they

   appear in a spreadsheet column titled “comments translated,” and it is unclear how they were

   translated, whether those translations are accurate, and whether the comments are verbatim or

   paraphrased. See Fuga Decl. Exh. 31. Ryanair argues that under Federal Rule of Civil Procedure




          31
              The Callahan case, the sole authority on which Ryanair relies on this issue, does not
   support Ryanair’s contention. In that case, the Third Circuit explained that the admission of a
   statement of the declarant’s intent or motives may not be admitted “as evidence of the facts recited
   as furnishing the motives.” 182 F.3d at 252. That is simply a restatement of the well-established
   principle that while an out-of-court statement admissible as a statement of intent can be used as
   evidence that the declarant acted in the future consistently with his expressed intent, it cannot be
   used to prove events the past events that may have given rise to the declarant’s intent or motive.
   As Justice Cardozo put it in the famous case of Shepard v. United States, 290 U.S. 96, 105–06
   (1933), “Declarations of intention, casting light upon the future, have been sharply distinguished
   from declarations of memory, pointing backwards to the past.”
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   56(e), Booking.com cannot rely on that evidence to survive the summary judgment motion because

   the translations were unauthenticated, and the comments were therefore inadmissible. But in its

   response to the summary judgment motion, Booking.com relies primarily on English language

   customer complaints. See, e.g., Hartnett Decl. Exh. W; Hartnett Decl. Exh. X; see also Hartnett

   Decl. ¶¶ 33–34 (attesting that exhibits W and X are true and correct copies of customer service

   tickets); Second Guerrero Decl. ¶¶ 5–7 (certification of records, including customer emails).32

   Booking.com may rely on the English language emails for the purposes of responding to the

   summary judgment motion under Federal Rule of Civil Procedure 56(e); the translated complaints

   will not be taken into account in determining the disposition of Ryanair’s summary judgment

   motion on this issue.

                      ii. Booking.com’s Theory of Loss

          In light of Booking.com’s acknowledgement that it will rely on the customer complaints

   only for the limited purpose of proving the customers’ state of mind, the question remains whether

   Booking.com has adduced sufficient evidence of damages to satisfy the damages element of its

   tortious interference, unfair competition, and trade libel claims.

          Ryanair argues that Booking.com has not proved damages by showing that it has lost

   customers as a result of Ryanair’s emails. To the contrary, Ryanair argues, Booking.com’s sales

   of Ryanair flights have increased over the last several years. See Fuga Decl. Exh. 32 at 8, Exh. B.

   Moreover, Ryanair argues that Booking.com has provided no calculation of damages to sustain its

   burden. Rather, Ryanair maintains that the evidence Booking.com has adduced relating to



          32
             Booking.com also provided information on how customer feedback in the spreadsheet
   was translated. See Second Guerrero Decl. ¶¶ 9–13. It appears that translations were done by an
   automated program. The court does not need to address whether this translation is sufficiently
   reliable because Booking.com relies primarily on English language customer complaints in its
   response to the motion for summary judgment.
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   damages is speculative and cannot sustain a finding that Booking.com has satisfied the damages

   requirements of the three economic torts. See Beard Rsch, 8 A.3d at 613.

          Because Booking.com is not relying on customer complaints as evidence that any repeat

   customers stopped using the company’s services, Booking.com relies on a theory of economic

   reputational harm. It argues that the complaints show harm to its reputation, and that such harm

   is pecuniary in nature. Booking.com points to the testimony of Mr. Guerrero, who testified that

   Ryanair’s emails have adversely affected flight sales, and that Booking.com has suffered pecuniary

   harm as a result of that reputational harm. See Hartnett Decl. Exh. K at 248:8–260:14. In his

   deposition, Mr. Guerrero admitted it is “difficult to identify what is the real impact” of the emails,

   but he maintained that “reputation equals money.” See id. at 249:19–251:4. In support of his

   contention that Booking.com has suffered a monetary loss due to that reputational injury, Mr.

   Guerrero also testified that

                                                     . Id. at 252:14–260:17.

          Based on the Guerrero testimony and a calculation provided in Ms. Hartnett’s declaration,

   see Hartnett. Decl. ¶¶ 4–8, Booking.com argues that it can prove injury and causation to the jury.33

   Booking.com argues its evidence is sufficient to create a genuine issue of fact as to damages

   because at this stage of the proceedings it need only establish that it suffered some damages, and

   is not required to show the quantum of damages. Dkt. No. 372 at 41 & n.18 (citing Callahan, 182




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              In its reply brief, Ryanair asserts that those figures have never been produced before and
   that the calculation in Ms. Hartnett’s declaration is incorrect. Regarding the former, Mr. Guerrero
   clearly referenced the difference in growth rates in his deposition testimony as evidence of lost
   profits or pecuniary harm. See Hartnett Decl. Exh. K at 252:14–260:17. Thus, Booking.com’s
   theory of harm is not new. Whether the specific calculation in Ms. Hartnett’s declaration is correct
   is an issue for cross-examination, assuming Booking.com introduces admissible evidence of the
   underlying figures as part of its case for damages.
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   F.3d at 247; Beard Rsch., 8 A.3d at 612 (to establish liability, plaintiffs “need show only that they

   suffered some damage, not the precise amount of damage.”).

          Although the evidence on damages is thin, Booking.com has produced sufficient evidence

   to show that there is a genuine issue of fact as to whether it has suffered damages; the quantum of

   damages is appropriately addressed at a later stage of the case.




                                                  Ryanair is, of course, also correct that

                                                    , such as its improved technological barriers. See

   Dkt. No. 380 at 19–20. However, whether Booking.com has shown

                                                                               See Lipson, 790 A.2d at

   1291 (“Generally, the issues of causation and damages are left for the jury.”).

          Ryanair relies primarily on Beard Research for its argument that Booking.com’s evidence

   of damages is too speculative, and that Booking.com will be unable to provide a “responsible

   estimate of damages.” 8 A.3d at 613. The court in that case explained that a court “may not set

   damages based on mere ‘speculation or conjecture.’” Id. However, the procedural posture of that

   case was different from the procedural posture of this one: the court in that case was making post-

   trial findings of fact and conclusions of law. Thus, while it is true that Booking.com needs to

   provide an evidentiary basis from which the jury could make a responsible estimate of damages at

   trial, it would be premature to rule that Booking.com has not provided such a basis at this stage,

   when it has provided enough evidence to show that the fact of damage is in dispute. Id. (“The

   quantum of proof required to establish the amount of damage is not as great as that required to

   establish the fact of damage.”) (citation omitted). Ryanair’s motion for summary judgment is



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   therefore denied as it relates to Booking.com’s tortious interference, unfair competition, and trade

   libel counterclaims.

                      iii. Defamation

           In a footnote, Ryanair argues that Booking.com can, at most, seek only nominal damages

   for its defamation claim because it cannot show injury to its reputation in light of the

   inadmissibility of customer complaints. See Dkt. No. 348 at 36 n. 18 (citing Preston Hollow Cap.

   LLC v. Nuveen LLC, No. N19C-10-107, 2022 WL 2276599, at *4 (Del. Super. Ct. June 14, 2022)).

   Booking.com argues that because this is a defamation per se case, harm to reputation is presumed.

   In support, Booking.com cites Marcone v. Penthouse Int’l Mag. for Men, 754 F.2d 1072, 1078 (3d

   Cir. 1985). That case is not instructive, however, because it applied Pennsylvania law.

           Under Delaware law, “statements which ‘malign one in a trade, business, or profession’

   are ‘. . . slander per se.’” See Preston Hollow Capital, 2022 WL 2276599, at *3 (citation omitted).

   In such cases, Delaware law still requires that a plaintiff show injury to reputation. Id. at *4 (citing

   Gannett Co. v. Kanaga, 750 A.2d 1174, 1184 (Del. 2000). However, Ryanair is incorrect in

   asserting that Booking.com has no evidence of damage to its reputation. Booking.com’s assertion

   relies on the assumption that the customer complaints are inadmissible in their entirety, when they

   are in fact admissible to show both that complaints occurred and that the complaining customers

   intended to stop using Booking.com. That evidence is sufficient to show injury to reputation.

   Ryanair's motion for summary judgment will therefore be denied, and Booking.com will be

   allowed to present evidence of defamation at trial.




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      V.        Ryanair’s Daubert Motions

                A. Opinions of Jordan Rae Kelly

           Jordan Rae Kelly, the defendants’ cybersecurity expert, presents three opinions in her

   report: (1) that the Ryanair website is publicly available in that there is no barrier to accessing the

   website; (2) that Ryanair necessarily granted access to its website in order for on-line flight

   purchases to be made; and (3) that there is no evidence that the defendants caused harm to the

   Ryanair website. See Hemann Decl. Exh. 38. Ryanair argues that all three opinions should be

   excluded.

                       i. Ms. Kelly’s Opinions on Access to the Ryanair Website

           Regarding Ms. Kelly’s opinion that the Ryanair website is public, Ryanair argues that (1)

   Ms. Kelly’s definition of “public” should be excluded because it would confuse the jury; (2) Ms.

   Kelly ignored crucial information regarding how Shield functions; and (3) the methodology that

   Ms. Kelly used in testing how Shield operates is unreliable because her test used humans instead

   of automated software (i.e., bots), and Shield was not designed to be a barrier to humans. The

   defendants respond that Ms. Kelly’s definition of what constitutes a “public website” is admissible

   because she relies on industry-recognized standards to support her conclusion. The defendants

   also dispute Ryanair’s contention that Ms. Kelly ignored critical information about the Shield

   system.

           Regarding Ms. Kelly’s opinion that Ryanair “necessarily granted access to its website” for

   flight purchases, Ryanair argues that Ms. Kelly’s opinion is unreliable because she relied on a self-

   serving distinction between “good bots” and “bad bots” 34 and, instead of addressing Ryanair’s



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              Ms. Kelly offered the opinion in her report that cybersecurity professionals often
   distinguish between “good” and “bad” bots because the term “bots” itself is a broad term that
   covers software that automates certain functions on a website. She explained that the distinction
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   internally developed Shield Software, she repeatedly referenced a different, external Shield

   program owned by a Singaporean company having no relationship to this case. The defendants

   dispute Ryanair’s characterization of Ms. Kelly’s report, arguing that she had adequate support for

   her good-bot/bad-bot distinction and that, while it is true that Ms. Kelly mistakenly referred to the

   external Shield software from a Singaporean company, she admitted that mistake in her deposition

   and analyzed Ryanair’s internal Shield program as well.

             While the parties focus on the merits of Ms. Kelly’s analysis, the fundamental issue with

   Ms. Kelly’s first two opinions is that both address the legal issue of whether defendants (by way

   of their vendors) access the Ryanair website or the myRyanair portion of that website without

   authorization. In light of the court’s legal conclusions regarding whether the alleged access to the

   Ryanair website in this case would be without authorization, which will govern the jury’s

   consideration of those issues, Ms. Kelly’s first and second opinions would not satisfy the

   requirement under Federal Rule of Evidence 702 that an expert’s specialized knowledge “will help

   the trier of fact to understand the evidence or to determine a fact in issue.” See Fed. R. Evid.

   702(a).

                        ii. Ms. Kelly’s Opinion on Harm to the Ryanair Website

             Ryanair argues that Ms. Kelly’s opinion that there is no evidence of harm to the Ryanair

   website is unreliable because Ms. Kelly characterizes harm more restrictively than the CFAA does

   and, in doing so, may mislead the jury. See Dkt. No. 348 at 46–47 (citing Fed. R. Evid. 702;

   Schneider ex rel. Est. of Schneider v. Fried, 320 F.3d 396, 404 (3d Cir. 2003) (“Rule 702 requires

   that the expert testimony must fit the issues in the case . . . and assist the trier of fact”); Dkt. No.




   is useful to explain how Ryanair attempts to prevent the use of bots on its websites. See Hemann
   Decl. Exh. 38 at 22–32.
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   380 at 23–24. The defendants respond that Ryanair’s real concern is not with Ms. Kelly’s methods

   but with her conclusion, which is a basis for cross-examination, not for exclusion. See Dkt. No.

   372 at 47–48 (citing Allscripts Healthcare, LLC v. Andor Health, LLC, No. 21-704, 2022 WL

   3021560, at *26 (D. Del. July 29, 2022)). The defendants also argue that the fact that Ms. Kelly

   did not address the full range of possible losses under the CFAA is not a basis for exclusion, but

   rather merely reflects that she did not anticipate all of Ryanair’s theories of loss, including the

   theory of loss that Mr. Lopata set forth in his contemporaneously filed expert report for Ryanair.

   See id.

             Ms. Kelly’s opinion that Ryanair cannot attribute website slowdowns or website disruption

   to any particular OTA is relevant to the case as it goes to the central issue of loss and damage.

   Based on the deposition testimony of Ryanair’s witnesses and Ms. Kelly’s own analysis of Ryanair

   flights sold by the defendants, Ms. Kelly concluded that the defendants’ actions could not have

   caused the harm that Ryanair claims. See Hemann Decl. Exh. 38 at 32–41. Her opinion on that

   issue is directly responsive to a theory of harm that Ryanair has advanced throughout this case:

   that the defendants’ access to the website harms the “availability and/or usability” of the Ryanair

   website. See Dkt. No. 76 at ¶¶ 270–72. Ryanair is thus incorrect in asserting that Ms. Kelly’s

   opinion is not relevant to any issues in this case.

             Ryanair’s argument that Ms. Kelly’s opinion is misleading or unreliable because other

   harms are cognizable under the CFAA, such as loss from Ryanair’s investigation into bot activity,

   fails to recognize that Ms. Kelly’s testimony is directed to whether there was any harm to the

   Ryanair website, not to the scope of all losses cognizable under the CFAA. To the extent that

   Ryanair’s argument is that Ms. Kelly should have considered additional sources or additional

   context surrounding the depositions that she relied upon, such arguments are best addressed



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   through cross-examination, not exclusion. See Stecyk v. Bell Helicopter Textron, Inc., 295 F.3d

   408, 414 (3d Cir. 2002) (“A party confronted with an adverse expert witness who has sufficient,

   though perhaps not overwhelming, facts and assumptions as the basis for his opinion can highlight

   those weaknesses through effective cross-examination”); see also Allscripts Healthcare, 2022 WL

   3021560, at *26. However, in light of my rulings that only the myRyanair portion of the website

   is private, Ms. Kelly will be limited to testifying as to the harm or lack thereof related to requests

   on the myRyanair portion of the website.

              B. Timothy O'Neil-Dunne

          Timothy O’Neil-Dunne is the defendants’ travel industry expert. His report provides

   background on the development of the travel industry, methods of booking consumer travel, a

   comparison of full-service and low-cost carriers, and a discussion of Ryanair’s business model and

   the benefits provided by OTAs. See generally Hemann Decl. Exh. 39.

          Ryanair argues that Mr. O’Neil-Dunne’s testimony should be excluded for three reasons.

   First, Ryanair characterizes Mr. O’Neil-Dunne’s report as providing only general background on

   (1) the direct and indirect purchasing of airline tickets, (2) the post-internet travel industry, (3)

   modern methods of booking travel, (4) the preferences of airlines, and (5) the purposes of OTAs

   and their benefits to customers. Dkt. No. 348 at 39. None of that background information, Ryanair

   argues, is relevant to either the CFAA claims or Booking.com’s counterclaims, and it should

   therefore be excluded. Second, Ryanair argues that Mr. O’Neil-Dunne’s discussion of Ryanair

   does not constitute expert evidence because Mr. O-Neil-Dunne is not qualified to address the

   nature of Ryanair’s business. Third, Ryanair argues that Mr. O’Neil-Dunne’s opinions are

   unreliable because he provides no supporting methodology or analysis.




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          The defendants respond, first, that Mr. O’Neil-Dunne’s testimony is relevant to the

   interpretation of “authorization” in the CFAA because he will testify that conduct such as screen

   scraping is a “commonplace computer activity” for OTAs of the sort that Congress did not intend

   to criminalize under the CFAA. See Van Buren, 593 U.S. at 393. Second, the defendants argue

   that Mr. O’Neil-Dunne’s opinion regarding the value of agent-supplied information in the travel

   industry goes to Ryanair’s argument that OTAs provide “false” information. Third, the defendants

   argue that Mr. O’Neil-Dunne’s opinion that myRyanair’s login process serves a business purpose

   rather than a cybersecurity purpose is relevant to the case.        Under the liberal standard of

   admissibility under Rule 702, the defendants argue that the whole of Mr. O’Neil-Dunne’s

   testimony, as reflected in his report, should be admitted. See Orbital Eng’g, Inc. v. Buchko, 578

   F. Supp. 3d 736, 740 (W.D. Pa. 2022) (citation omitted); see also United States v. Schiff, 602 F.3d

   152, 173 (3d Cir. 2010); United States v. Ford, 481 F.3d 215, 219 (3d Cir. 2007).

          For the same reason that Ms. Kelly’s opinions going to authorization and authentication

   will not assist the jury in deciding issues of fact, the defendants cannot rely on Mr. O’Neil’s

   opinion on screen scraping in section 7.2.1 of his report to address authorization. To the extent his

   opinion about the purpose of myRyanair is intended to address whether myRyanair is an

   authentication mechanism, his opinion will also be excluded.

          However, Ryanair has not shown that the remainder of Mr. O’Neil-Dunne’s report is

   irrelevant or unreliable. Ryanair does not contest that Mr. O’Neil-Dunne is an expert in the travel

   industry nor does it suggest that his opinions are irrelevant to the counterclaims. Even after the

   defendants argued that his testimony was relevant to the counterclaims, Ryanair continued to

   address only whether Mr. O’Neil-Dunne’s testimony was relevant to its CFAA claims. See Dkt.

   No. 380 at 20–21. Mr. O’Neil-Dunne’s discussion of Ryanair’s model, the commercial purposes



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   of myRyanair, and the use of OTA-supplied information are all relevant to the counterclaims. In

   particular, his testimony regarding the use of non-traveler-supplied information, i.e., information

   supplied by an OTA, see Hemann Decl. Exh. 39 § 8.2.2, and the commercial purposes of

   myRyanair, see id. § 8.2.3, has the “potential to assist the trier of fact” in deciding the defendants’

   defamation claim. See supra section IV.A.

              C. Basil Imburgia

          Basil Imburgia is the defendants’ rebuttal expert, whose reports are directed to responding

   to Mr. Lopata’s testimony concerning loss under the CFAA. See Hemann Decl. Exhs. 44 (Rebuttal

   Report) & 45 (Supplemental Rebuttal Report). Mr. Imburgia asserts in his report (1) that the

   methodology Mr. Lopata used to calculate loss in his opening damages report is unreliable; (2)

   that it is unlikely that the defendants could be the cause of slowdowns and shutdowns on the

   Ryanair website given the relative volume of their bookings compared to all OTA bookings of

   Ryanair flights; and (3) that Mr. Lopata failed to properly allocate costs to the individual

   defendants. See Hemann Decl. Exh. 44 at ¶ 12.

          Ryanair seeks to exclude Mr. Imburgia’s report on three grounds: (1) Mr. Imburgia is not

   qualified to testify on matters related to the CFAA; (2) Mr. Imburgia’s analysis is unreliable; and

   (3) Mr. Imburgia’s conflation of “loss” and “damage” will mislead the jury.

                       i. Mr. Imburgia’s Qualifications

          Ryanair argues that while Mr. Imburgia is qualified as an accountant, he is not qualified on

   matters related to the CFAA because he has no experience with CFAA claims and no technical

   expertise in cybersecurity. See Dkt. No. 348 at 47–48. Ryanair argues that Mr. Imburgia’s lack

   of experience affected his report because Mr. Imburgia applied general damages principles such




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   as the duty to mitigate costs and to prevent windfalls, principles that do not apply to the calculation

   of loss under the CFAA.

          The defendants respond that this argument is baseless because Mr. Imburgia is not offered

   as an expert on the CFAA, and he therefore does not need prior experience in CFAA litigation to

   testify in this case. See In re ConAgra Foods, Inc., 302 F.R.D. 537, 550-51 (C.D. Cal. 2014). In

   addition, the defendants argue that it is permissible for Mr. Imburgia to criticize Mr. Lopata’s

   calculations without offering a theory of his own regarding how to calculate costs under the CFAA,

   see Complaint of Borghese Lane, LLC, No. 2:18-CV-00533, 2023 WL 3114851, at *3 (W.D. Pa.

   Apr. 27, 2023).

          Mr. Imburgia is qualified to testify regarding Mr. Lopata’s calculations of loss and

   damages. Mr. Imburgia’s opinions are based on his expertise as an accountant, which is not

   challenged, not as a technical expert on the CFAA. Mr. Imburgia therefore may properly critique

   the methodology Mr. Lopata used to calculate Ryanair’s costs and to allocate those costs to the

   defendants. See Complaint of Borghese Lane, LLC, 2023 WL 3114851, at *3 (“Courts have held

   that it is the proper role of rebuttal experts to critique [an] expert's methodologies and point out

   potential flaws in the . . . experts’ reports.”) (cleaned up) (collecting cases). The permissibility of

   Mr. Lopata’s opinion on loss is addressed below, infra section IV.A.i, and a significant portion of

   that opinion is excluded. To the extent that Ryanair relies on the evidence underlying Mr. Lopata’s

   report to make its case on loss and that evidence has the same problems that Mr. Imburgia raised

   in his criticism of Mr. Lopata’s opinion on loss, Mr. Imburgia may testify to his rebuttal opinions.

   Mr. Imburgia need not have addressed loss under the CFAA in a prior trial in order to critique Mr.

   Lopata’s analysis, or the underlying evidence, in the present case.




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           However, Ryanair is correct that to the extent Mr. Imburgia’s criticisms are based on

   principles that do not apply to the calculation of loss for the CFAA, they are not proper rebuttals

   of Mr. Lopata’s report. Accordingly, Mr. Imburgia may not testify that Mr. Lopata erred by failing

   to consider Ryanair’s duty to mitigate, see Hemann Decl. Exh. 44 at ¶¶ 21–22, 70, 35 or that Mr.

   Lopata erred by failing to consider that Mr. Lopata’s calculation method would result in a windfall

   for Ryanair, id. at ¶¶ 12 bullet point 3, 78. 36

           In addition, Mr. Imburgia is not qualified to testify about whether the defendants’ actions

   are likely to have caused website slowdowns, because that question goes to a technical issue on

   which he is not qualified to testify. See id. at ¶¶ 12 bullet point 2, 76. Accordingly, his testimony

   corresponding to those paragraphs of his report will be excluded. However, Mr. Imburgia may

   testify in accordance with the portion of his report criticizing Mr. Lopata for not properly

   attributing an amount of harm from slowdowns or shutdowns to the defendants based on the facts

   in Mr. Lopata’s report. See, e.g., id. at ¶¶ 74–75.

                       ii. Reliability of Mr. Imburgia’s Reports

           Ryanair argues that Mr. Imburgia’s reports and testimony are unreliable for two reasons.

   First, Ryanair argues that Mr. Imburgia’s report is unreliable because he delegated much of the



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                The defendants interpret Ryanair’s argument on this issue as a criticism of Mr.
   Imburgia’s analysis of Mr. Lopata’s testimony regarding the costs of customer verification. See
   id. at ¶¶ 61–70; Hemann Decl. Exh. 45 at ¶¶ 19–24. Ryanair’s criticism appears to be limited to
   paragraph 70 of Mr. Imburgia’s report, which addresses the duty to mitigate, not Mr. Imburgia’s
   criticism of how Mr. Lopata calculated the cost of customer verification. In any event, the latter
   criticism by Mr. Imburgia is admissible because it goes to Mr. Lopata’s methodology and
   calculations rather than to an inapplicable concept such as the duty to mitigate, which is not
   relevant to the CFAA’s loss provision.
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               In the same sentence, Mr. Imburgia states that Mr. Lopata’s contention that the
   defendants are liable for the total costs related all to OTA activities, despite the defendants being
   responsible for less than 3 percent of all OTA bookings is unreasonable. Mr. Imburgia may testify
   to this opinion, as it goes to his criticism of Mr. Lopata’s failure to properly allocate costs to the
   defendants.
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   work on the report to other individuals. See Fuga Decl. Exh. 37 at 106:21–107:12, 108:17–109:3.

   As a result, Ryanair argues, Mr. Imburgia made the error of using revenue figures for the Ryanair

   Group, a holding group, in a calculation meant for Ryanair DAC, which operates the airline and

   website and is the plaintiff in the present case. See Hemann Decl. Exh. 45 at ¶¶ 30–32; Fuga Decl.

   Exh. 37 at 300:12–303:20. Second, Ryanair argues that Mr. Imburgia stopped his analysis at the

   “surface level of citations” in the Lopata Report. See Dkt. No. 348 at 49.

             The defendants respond that Mr. Imburgia’s opinions are reliable because an expert witness

   is permitted to use assistants in formulating his expert opinions, and Mr. Imburgia was sufficiently

   involved in preparing the report for him to testify to its contents, see Hartnett Decl. Exh. BB at

   108:1–16. Regarding Mr. Imburgia’s use of the holding group data and his analysis of Mr.

   Lopata’s sources, the defendants argue that such criticism is best addressed through cross-

   examination. See UGI Sunbury LLC v. A Permanent Easement for 0.4308 Acres, No. 3:16-CV-

   794, 2021 WL 5140050, at *9 (M.D. Pa. Nov. 4, 2021); Allscripts Healthcare, 2022 WL 3021560,

   at *26.

             “It is well recognized that an expert witness is permitted to use assistants in formulating

   his expert opinion.” See Shire Viropharma Inc. v. CSL Behring LLC, No. CV 17-414, 2021 WL

   1227097, at *21 n.13 (D. Del. Mar. 31, 2021) (cleaned up). So long as the expert was “directly

   involved in the research, analysis or drafting of the report, even with substantial assistance from a

   colleague or associate, his involvement in and knowledge of the report are matters of weight, not

   admissibility.” Lee Valley Tools, Ltd. v. Indus. Blade Co., 288 F.R.D. 254, 266 (W.D.N.Y. 2013).

   Ryanair has not shown that Mr. Imburgia was not directly involved in the analysis and drafting of

   the report, and the defendants point to Mr. Imburgia’s testimony that his process was to outline the




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   report, share the outline with his colleagues, and then provide edits and rewrites. See Hartnett

   Decl. Exh. BB at 108:1–16.

          Ryanair’s best argument on this issue is that, based on his deposition testimony, it appears

   that Mr. Imburgia did not understand that the plaintiff is Ryanair DAC, not Ryanair Group. See

   Fuga Decl. Exh. 37 at 137:9–140:3; 303:17–20. It is unclear from his deposition testimony,

   however, whether Mr. Imburgia was confused about the relevant entity or merely misremembered

   the name of the plaintiff. See id. The defendants are correct that the error can be explored through

   cross-examination and is not a sufficient ground for excluding Mr. Imburgia’s testimony

   altogether. In addition, the error is not an adequate basis for concluding that Mr. Imburgia was

   not sufficiently involved in drafting the expert report to require that his testimony be excluded on

   that ground.

          Ryanair’s criticism that Mr. Lopata’s analysis stopped at the surface level of the Lopata

   Report’s citations is also based on Mr. Imburgia’s deposition testimony. See id. at 147:12–150:24.

   That testimony rebuts Ryanair’s assertion that Mr. Imburgia looked only at surface level citations

   in the Lopata report, as Mr. Imburgia testified that he looked at the underlying documents that Mr.

   Lopata relied upon. Id. at 148:10–18. The fact that during his deposition Mr. Imburgia did not

   remember which particular documents Mr. Lopata examined does not suggest that Mr. Imburgia’s

   report is unreliable. To the extent Ryanair believes that Mr. Imburgia misrepresented what

   documents Mr. Lopata reviewed, that criticism would also be best explored during cross-

   examination.

                     iii. The conflation of “loss” and “damages”

          Ryanair’s final argument regarding Mr. Imburgia is that Mr. Imburgia’s opinion will not

   “help the trier of fact to understand the evidence or to determine a fact in issue” because Mr.



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   Imburgia confused the terms “loss” and “damage” under the CFAA. Fed. R. Evid. 702. Ryanair

   argues that this lack of precision will confuse the jury in its effort to determine whether the loss

   requirement for the CFAA is met. See United States v. Merrill, No. 08-20574, 2010 WL 3981158,

   at *8 (S.D. Fla. Oct. 8, 2010) (finding expert testimony that defined and applied terms in a way

   that conflicted with the relevant regulations was inadmissible). The defendants do not appear to

   have addressed this issue beyond making the general point that Mr. Imburgia’s testimony would

   be “helpful to the finder of fact.” See Dkt. No. 372 at 48.

           Mr. Imburgia’s report addresses the definition of loss in the Lopata Report and the CFAA.

   See Hemann Decl. Exh. 44 at ¶ 16. 37 Nonetheless, he uses the terms “damages” and “loss”

   interchangeably. That loose use of the terms creates the potential for confusion given the specific

   definition of loss in the CFAA. Nonetheless, any such confusion can be cured short of exclusion

   by requiring that Mr. Imburgia refer to “loss” in non-ambiguous terms and by excluding testimony

   that addresses theories that are relevant only to a damages analysis, such as the duty to mitigate,

   as discussed above. Although Mr. Imburgia improperly used the word “damages” in his report,

   the substance of his criticisms of how Mr. Lopata calculated loss (e.g., Mr. Lopata’s inability to

   allocate costs to particular defendants) has the potential to assist the trier of fact in determining the

   crucial issue of whether the CFAA requirement that a plaintiff in a civil case show loss of at least

   $5,000 in a one-year period.




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               Mr. Imbruglia does not address “damage” as defined in the CFAA, nor would it be
   appropriate given that damage is a technical term under the CFAA, specifically defined in the
   statute. See 18 U.S.C. § 1030(e)(8) (“[T]he term “damage” means any impairment to the integrity
   or availability of data, a program, a system, or information.”).
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      VI.      Booking.com’s Daubert Motions

                   A. Opinions of Iain Lopata

            Mr. Lopata is a technical expert for the defendants. Mr. Lopata submitted three reports in

   this case, all of which are at issue in the defendants’ motion to exclude his testimony: (1) Mr.

   Lopata’s Opening Report, Hemann Decl. Exh. 40; (2) Mr. Lopata’s Amended and Supplemental

   Report, Hemann Decl. Exh. 41; and (3) Mr. Lopata’s Rebuttal Report, Hemann Decl. Exh. 42. His

   opening report, as amended, provides opinions from a cybersecurity perspective regarding the

   barriers to access on the Ryanair website and how the defendants access that website. His reports

   also address the total amount of the loss to Ryanair caused by the defendants’ online booking

   activities. Mr. Lopata’s rebuttal report was offered in response to Jordan Rae Kelly’s opening

   cybersecurity report.

            The defendants argue that Mr. Lopata’s loss and damages opinions should be excluded in

   full. They also argue that Mr. Lopata’s cybersecurity opinions based on one of the tests he

   conducted should be excluded, as well as certain portions of his rebuttal report.

                       i. Mr. Lopata’s Opinions on Loss under the CFAA

            Section F of Mr. Lopata’s Amended and Supplemental Report addresses his opinions on

   loss under the CFAA. In that section of his report, Mr. Lopata describes those categories of costs

   that he believes qualify as “losses” within the meaning of the CFAA, and he estimates the amount

   of those qualifying costs that Ryanair has spent on blocking OTA activity or repairing harm from

   OTA activity. He also allocates that amount to each defendant based on the percentage of OTA

   activity he attributes to that defendant. See Hemann Decl. Exh. 41 at ¶¶ 69–182.

            The defendants urge that Mr. Lopata’s opinion on “damages and loss” be excluded on the

   grounds that Mr. Lopata is not an expert on damages and that his methods are unreliable.



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   Regarding his expertise, the defendants first argue that Mr. Lopata’s opinions on damages and loss

   should be excluded in full because Mr. Lopata admitted that he is not a damages expert, see

   Hemann Decl. Exh. 41 ¶ 28, and because he lacks the sort of expertise in accounting, finance, or

   economics that would be required for him to offer an expert opinion on this topic. See Trs. of

   Univ. of Pa. v. Eli Lilly & Co., No. 15-6133, 2022 WL 3973276, at *3 (E.D. Pa. Jan. 14, 2022).

   They also argue that Mr. Lopata’s opinion is a damages opinion in substance if not in name. See

   Travelers Prop. Cas. Co. of Am. v. Hallam Eng’g & Constr. Corp., No. 08-0444, 2012 WL

   13029519, at *3-4 (D.N.J. Aug. 16, 2012). As examples of his “damages” analysis, the defendants

   refer generally to Mr. Lopata’s discussion of (1) joint and several liability, (2) allocation, and (3)

   whether Ryanair’s losses exceed the statutory threshold.

          In the alternative, the defendants argue that if Mr. Lopata is just doing simple math rather

   than conducting a damages analysis, he is not serving as an expert witness at all, because such

   calculations “are within the ken of a lay person.” Depalma v. Scotts Co., No. 13-7740, 2019 WL

   2417706, at *7 (D.N.J. June 10, 2019); Allscripts Healthcare, 2022 WL 3021560, at *19

   (“multiplication is not a specialized form of knowledge”) (cleaned up).

          Ryanair responds that Mr. Lopata is not offered as a damages expert but rather as a

   technical expert in cybersecurity who can properly provide an opinion as to which of Ryanair’s

   costs should be classified as losses under the CFAA. Ryanair argues that the defendants’ motion

   should be denied because it conflates two concepts: loss under the CFAA and legal damages. Mr.

   Lopata, Ryanair argues, has limited his testimony to the former category, based on his experience

   and expertise in information technology and cybersecurity. Additionally, Ryanair argues that Mr.

   Lopata is not simply performing basic arithmetic that a jury could perform but is using his




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   specialized knowledge to inform his opinion as to what constitutes a “reasonable cost” to a victim

   under the CFAA.

          Section F of Mr. Lopata’s report is directed to loss under the CFAA, not legal damages.

   He stated as much in his report. See Hemann Decl. Exh. 41 at ¶ 28. In addition, he clarified at his

   deposition that he is not offering an opinion on damages but instead is addressing “[t]he costs

   incurred by Ryanair in responding to unauthorized access to their website” based on his experience

   with “the financials of an [Information Technology] project.” See Hemann Decl. Exh. 9 at 56:8–

   57:24. That Mr. Lopata is not a damages expert is thus irrelevant. The confusion about Mr.

   Lopata’s report arises from the same problem that Ryanair pointed out in Mr. Imburgia’s report:

   Mr. Lopata uses the term “damages” interchangeably with the statutory term “loss.” See, e.g.,

   Hemann Decl. Exh. 41 at ¶¶ 25 (“I understand that whether the damages caused exceed $5,000 in

   a single year is an important threshold [issue]”). 38 While Mr. Lopata use of those terms is

   imprecise, that imprecision can be cured.

          The defendants are correct, however, that Mr. Lopata’s expertise in information technology

   is not relevant to Mr. Lopata’s ultimate calculations of loss. To the extent that Mr. Lopata is

   offering an opinion on what constitutes “loss” under the CFAA, Mr. Lopata’s opinion would be

   an improper legal conclusion because it goes to the meaning of that term in the CFAA. See Vox




          38
              The defendants’ argument that in his discussion of joint and several liability and
   allocation Mr. Lopata’s report addresses “damages” in all but name is incorrect. Mr. Lopata clearly
   disclaimed that he was offering an opinion as to the appropriate legal approach in this case.
   Instead, he summarized two approaches so that he could offer an opinion on loss under the CFAA
   under either approach. See Hemann Decl. Exh. 41 at ¶¶ 27(i)–(k), 153–155. His opinions thus do
   not run afoul of the problem in Travelers Property Casualty Co., 2012 WL 13029519, at *3–4,
   cited by the defendants. The court in that case rejected an expert’s opinion on the allocation of
   damages because the expert did not follow industry standards and could not articulate how he
   reached the apportionment figures that he did. Id.; cf. Hemann Decl. Exh. 41 at F.3 (describing
   Mr. Lopata’s method for allocating costs to each defendant).
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   Mktg. Grp., LLC v. Prodigy Promos L.C., 521 F. Supp. 3d 1135, 1149 (D. Utah 2021) (excluding

   an expert report that offered “legal conclusions on terms contained in the [CFAA]”). Because the

   meaning of “loss” is a legal question, the question of which of Ryanair’s costs may be considered

   a “loss” under the CFAA is addressed in the summary judgment opinion, see supra section III.B.

   In light of those rulings, Mr. Lopata may testify only on opinions he offered in his report as to

   which portions of certain systems can be allocated to preventing OTA activity.

           For example, this court ruled that Ryanair may include the costs of CloudFront and AWS-

   WAF to the extent those costs are attributable to denying unauthorized bot requests by the

   defendants on the protected portion of the website. Accordingly, Mr. Lopata may offer his opinion

   as to which portion of the monthly cost for CloudFront and AWS-WAF is attributable to

   preventing OTA activity, based on his technical expertise. See Hemann Decl. Exh. 41 ¶¶ 98–103

   (stating that CloudFront is multi-purpose, and that to the extent it serves purposes not used by

   OTAs, that portion of CloudFront costs cannot be allocated to OTAs). 39 Ryanair will still need to

   provide a way to allocate that portion of the costs to the defendants’ activity on only the protected

   portion of the Ryanair website.

           The bulk of Mr. Lopata’s opinion on loss is directed to allocating the costs of Ryanair’s

   various anti-bot measures to the defendants based on how much OTA activity goes through the



           39
              At the hearing on the summary judgment motions, Ryanair’s counsel argued that Mr.
   Lopata is doing more than simple math because he has brought his expertise to bear on what
   portions of certain costs are attributable to anti-bot activity. That is true with regard to this section
   of Mr. Lopata’s report. It is also true with regard to his discussion of myRyanair costs, id. at ¶¶
   113–17, if Ryanair can show at trial that bot traffic attributable to the defendants has materially
   increased the cost of Ryanair’s server infrastructure for the myRyanair portion of its website, see
   supra section III.B.i. The only other place where this appears to apply is Mr. Lopata’s discussion
   of New Relic. Hemann Decl. Exh. 41 ¶¶ 104–112. Because of the ruling that the costs of New
   Relic are not losses under the CFAA, supra section III.B.i, Mr. Lopata’s opinions based on those
   paragraphs will be excluded. The remainder of Mr. Lopata’s estimates are unrelated to his
   technical expertise.
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   website and what percentage of OTA bookings are attributed to each defendant. This is simple

   math: Mr. Lopata uses Ryanair’s estimate of the costs of a particular measure and multiplies that

   number by the percentage of a particular defendant’s activity compared to all OTA activity on the

   website. To determine that amount, Mr. Lopata estimates what percentage of Ryanair’s OTA

   bookings are attributable to each defendant based on the number of bookings each defendant

   reported. See, e.g., id. at ¶¶ 160–163 (calculation for Booking.com).

          Such calculations are not based on Mr. Lopata’s specialized knowledge. They represent

   the kind of chalkboard estimates based on other evidence in the case that Ryanair’s counsel could

   equally well present in closing arguments. Courts in this district frequently reject exactly this kind

   of “calculation evidence” from experts because expert knowledge is not required to do simple

   arithmetic. See Allscripts Healthcare, 2022 WL 3021560, at *19 (excluding an expert’s damages

   estimate created by merely multiplying values provided by the plaintiff, because no specialized

   knowledge was required to gather the input data and perform the calculation); Cavi v. Evolving

   Sys. NC, Inc., No. CV 15-1211, 2018 WL 2317594, at *2 (D. Del. May 21, 2018) (excluding

   analysis that “amounts to nothing more than a simple math equation”); CareDx, Inc. v. Natera,

   Inc., No. CV 19-662, 2021 WL 1840646, at *3 (D. Del. May 7, 2021) (same). Ryanair asserts that

   the calculation should be permitted because it is just a final step in Mr. Lopata’s analysis. But if

   the rest of his proposed testimony is excluded, the calculation stands alone and must be excluded

   as well.

          In sum, Mr. Lopata’s opinions on the loss attributable to all OTA activity generally and to

   each defendant specifically is excluded because that evidence does not require specialized

   knowledge. In light of this ruling, there is no need to address the defendants’ remaining arguments

   about the reliability of Mr. Lopata’s method of calculating loss. Ryanair may attempt to introduce



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   on the ground that they are not supported by a reliable methodology. See In re TMI Litig., 193

   F.3d 613 (3d Cir. 1999), amended, 199 F.3d 158 (3d Cir. 2000) (upholding the exclusion of expert

   opinion based on a flawed methodology); In re Paoli R.R. Yard PCB Litig., 35 F.3d 717, 746 (3d

   Cir. 1994). The defendants also argue that Mr. Lopata has not shown that his testing methodology

   is a valid, industry-accepted means for determining programmatic access, and that his opinions

   should be excluded for that reason as well.

          Ryanair responds that the defendants have mischaracterized Mr. Lopata’s deposition

   testimony by describing it as a concession that Test B failed. At most, Ryanair argues, the cited

   testimony establishes that a single test booking did not conclusively show programmatic access,

   even though Mr. Lopata maintained that the access in that instance was mostly likely

   programmatic. See Mao Decl. Exh. 7 at 192:17–207:21. In addition, Ryanair argues that analysis

   of the defendants’ PNR codes confirms Mr. Lopata’s hypothesis that the defendants’ bookings

   were made through programmatic access. See Fuga Decl. Exh. 6 at 83–84. And even if this court

   finds Test B unreliable, Ryanair argues, the defendants’ request to exclude Mr. Lopata’s testing

   evidence completely is too broad because it would result in excluding his testimony regarding Test

   A, which was not affected by the problems with Test B.

           Test B involved

                                                   . Hemann Decl. Exh. 41 ¶¶ 63–68. Mr. Lopata

   then attempted to book that flight through the defendants’ platforms. Id. Mr. Lopata stated that




                                    Id. ¶ 64. At his deposition, Mr. Lopata was asked about one Test

   B test booking. For that booking, Mr. Lopata testified that he successfully submitted a booking



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   on the Booking.com website while



                             See Mao Decl. Exh. 7 at 192:17–209:1. When questioned, Mr. Lopata

   conceded that in light of those details, he could not conclude with confidence whether



                  Id. at 201:2–21. He went on to testify that

                                                           Id. at 202:21–204:24. He conceded, however,

   that counsel’s questioning at the deposition would require him to clarify the opinion he set forth

   in paragraph 64 of his report. Id. at 207:2–21.

          The full context of Mr. Lopata’s testimony provides support for Ryanair’s position that Mr.

   Lopata did not concede that Test B failed, but rather maintained his opinion that the defendants

                                                          . The deposition testimony demonstrates that

   there are limits to Mr. Lopata’s testing methodology, limits that can be explored during cross-

   examination. However, the challenges to Mr. Lopata’s testimony do not rise to the level of

   showing that Mr. Lopata lacks “good grounds” for his conclusion. See In Re Paoli R.R. Litig., 35

   F.3d at 746 (“[T]he judge should not exclude evidence simply because he or she thinks that there

   is a flaw in the expert's investigative process which renders the expert's conclusions incorrect. The

   judge should only exclude the evidence if the flaw is large enough that the expert lacks ‘good

   grounds’ for his or her conclusions.”). However, Mr. Lopata’s opinion will be limited to reflect

   the clarification he made at his deposition regarding the last sentence of paragraph 64 (i.e., that

   Test B is not definitive on this point, although he maintains his opinion that

                                                                ).




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          This case is unlike the Third Circuit case cited by the defendants, TMI Litigation, in which

   an expert did not modify his hypothesis after his own testing undermined that hypothesis. 193

   F.3d at 675–76. Unlike in that case, Mr. Lopata’s testing did not undermine his hypothesis; it

   merely showed that his conclusion was not as definitive as he had initially represented, because he

   had not considered a possible alternative explanation for the results of the test, an explanation that

   was explored at his deposition. See Mao Decl. Exh. 7 at 205:1–207:1. Mr. Lopata went on to say

   he would modify his opinion based on that possibility. Id. at 207:2–21. Requiring Mr. Lopata to

   testify to that modification will resolve the issue in the present case without requiring the exclusion

   of testimony that could help the trier of fact determine the issue of access.

                     iii. Mr. Lopata’s Rebuttal Report

          The defendants argue that three portions of Mr. Lopata’s Rebuttal Report should be

   excluded. Having determined that Ms. Kelly may testify only regarding her third opinion, see

   supra section V.A, only the portions of Mr. Lopata’s rebuttal report regarding Ms. Kelly’s third

   opinion will be admitted. The defendants’ first argument, that Mr. Lopata’s discussion of Test A

   in paragraph 42 of his rebuttal report should be excluded, is therefore moot.

          The defendants’ remaining objections relate to the portion of Mr. Lopata’s report

   addressing Ms. Kelly’s third opinion regarding harm to the Ryanair website. The defendants argue

   that paragraphs 9(c)(ii) and 112–24 of Mr. Lopata’s report is improper rebuttal, as it impermissibly

   introduced new theories and evidence unresponsive to Ms. Kelly’s opinion. See Dkt. No.335 at

   45 (citing Withrow v. Spears, 967 F. Supp. 2d 982, 1001–02 (D. Del. 2013); Boles v. United States,

   No. 1:13CV489, 2015 WL 1508857, at *2 (M.D.N.C. Apr. 1, 2015); Bradley v. Amazon.com, Inc.,

   No. 17-1587, 2023 WL 2574572, at *5 (E.D. Pa. Mar. 17, 2023)). The defendants argue that any

   reference to KAYAK’s referral or link-out bookings and retries (i.e., multiple efforts by a bot to



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   book a flight) is improper because Mr. Lopata did not mention those subjects in his opening report.

   In addition, they argue that Mr. Lopata’s new availability testing at paragraphs 115–24 is

   unreliable because (1) the method underlying the testing is not explained, (2) Mr. Lopata was not

   involved in the execution of the test, and (3) in his deposition Mr. Lopata relied on what

   Booking.com characterizes as “Googling and guessing to come up with what should be precise

   numbers.” Dkt. No. 335 at 46. Accordingly, the defendants argue, Mr. Lopata’s conclusions are

   merely speculative and must be excluded. See Heller v. Shaw Indus., Inc., 167 F.3d 146, 159 (3d

   Cir 1999).

          Ryanair responds that Mr. Lopata’s references to KAYAK’s link-out bookings and retries

   were proper, and that it would be unjust to hold that Mr. Lopata should have raised the issue earlier

   when he was precluded from doing so because KAYAK delayed producing the pertinent data. In

   any event, Ryanair argues that it was permissible for Mr. Lopata to introduce new theories or

   evidence since they were responsive to Ms. Kelly’s report. See Haskins v. First Am. Title Ins. Co.,

   No. CIV.A. 10-5044, 2013 WL 5410531, at *4 (D.N.J. Sept. 26, 2013). Moreover, Ryanair

   contends that Mr. Lopata was merely pointing out flaws in Ms. Kelly’s opinion, not introducing

   new theories. As for Mr. Lopata’s testing summarized at paragraphs 115–24 of his report, Ryanair

   addresses the defendants’ concerns with that material only briefly, arguing only that the jury should

   decide the credibility and weight of his testimony.

          Mr. Lopata’s testimony regarding KAYAK’s link-out booking data and retries is

   admissible. As to the former, Mr. Lopata explained in his report that not all defendants included

   referrals in their initial responses, but that recent disclosures showed those numbers to be far higher

   than the figures on which Ms. Kelly relied. See Hemann Decl. Exh. 42 ¶ 113. As Ryanair argued,

   and the defendants do not dispute, the data Mr. Lopata relied on was not provided by the defendants



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   until after the close of discovery, and it was directly pertinent to Ms. Kelly’s testimony. It was

   therefore proper for Mr. Lopata to use that new evidence to critique Ms. Kelly’s conclusions. See

   Withrow, 967 F. Supp. 2d at 1001 (“[R]ebuttal . . . reports may cite new evidence and data so long

   as the new evidence and data is offered to directly contradict or rebut the opposing party's expert.”)

   (quotation marks omitted).

          Mr. Lopata’s opinion that Ms. Kelly should have considered retries is similarly admissible.

   Mr. Lopata criticized Ms. Kelly’s report for not considering that the defendants sometimes need

   to make multiple attempts in order for a booking to succeed, citing his own report for examples.

   Hemann Decl. Exh. 42 ¶ 114 (citing Hemann Decl. Exh. 41 at 36). In his opening report, he stated

   that repeated attempts “place[] additional demands on Ryanair’s systems.” Hemann Decl. Exh. 41

   at 36 n.63. The opinion in Mr. Lopata’s rebuttal report is thus not new, and the expansion on his

   opening report is permissibly responsive to Ms. Kelly’s report.

          Mr. Lopata’s availability testing addresses the frequency with which the defendants

   accessed the data on Ryanair’s prices, flights, and timetables. See Hemann Decl. Exh. 42 at 115–

   24. There is no need to address the parties’ dispute over whether Mr. Lopata’s availability testing

   was new or unreliable because it was directed only to the issue of access to the general Ryanair

   website, not to bookings on myRyanair. In light of my ruling that the Ryanair website is a public

   website, Mr. Lopata’s availability testing is not relevant. And in light of the limitations on Ms.

   Kelly’s opinion, it will not be necessary.

                  B. Opinions of Anthony Vance

          Anthony Vance is Ryanair’s technical expert who was retained to rebut the testimony of

   the defendants’ technical expert, Mr. O’Neil-Dunne. Dr. Vance represented his background and

   expertise to be in the field of cybersecurity. See Hemann Decl. Exh. 43 at 3. Section VI of Dr.



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   Vance’s report addresses what he regarded as the flaws in Mr. O’Neil-Dunne’s opinions: (1) he

   criticized Mr. O’Neil-Dunne’s failure to address the CFAA claims; (2) he criticized Mr. O’Neil-

   Dunne’s failure to distinguish between authorized and unauthorized access by OTAs; (3) he

   discussed the technical measures employed by Ryanair to prevent OTAs from accessing the

   Ryanair website; (4) he criticized Mr. O’Neil-Dunne’s failure to address harms or costs of OTAs;

   (5) he discussed those harms; (5) he discussed what he considered the “net costs” of OTAs; and

   (6) he criticized Mr. O’Neil-Dunne for not differentiating between licensed and unlicensed OTAs.

   Id. at 5–21. Sections VII–XII of Mr. Vance’s report address particular sections of Mr. O’Neil-

   Dunne’s report. Id. at 21–26.

          The defendants argue that Dr. Vance’s report should be excluded in full on the ground that

   it is unresponsive to Mr. O’Neil-Dunne’s report and is therefore best characterized as an untimely

   opening expert report. In the alternative, the defendants argue that to the extent that Dr. Vance’s

   report is in the form of rebuttal, the various opinions Dr. Vance sets forth in his rebuttal report are

   inadmissible under Federal Rule of Evidence 702 and the Daubert decision.

                       i. Proper Rebuttal Testimony

          The defendants contend that in his rebuttal report Dr. Vance improperly offered opinions

   on cybersecurity issues that should have been presented in an opening report and are not responsive

   to Mr. O’Neil-Dunne’s opinions as a travel industry expert. See Dkt. No. 335 at 47–49 (citing

   Withrow, 967 F. Supp. 2d at 1001–02; Bradley, 2023 WL 2574572, at *5). The defendants take

   particular issue with Dr. Vance’s discussion of authorized and unauthorized access in section VI.B

   of his report, his opinion on technical barriers and hacks in section VI.C of his report, and his

   discussion of “costs” and “net costs” to Ryanair in sections VI.D and VI.E of his report. As such,




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   the defendants argue that Dr. Vance’s report should be rejected as an untimely opening expert

   report. See Bradley, 2023 WL 2574572, at *14–15.

          Ryanair responds that Dr. Vance’s testimony is permissible rebuttal in that it will “explain,

   repel, counteract, or disprove the evidence of the adverse party.” See Crowley v. Chait, 322 F.

   Supp. 2d 530, 551 (D.N.J. 2004). Ryanair argues that because Mr. O’Neil-Dunne addressed issues

   such as screen scraping and the impact of OTA activities, Dr. Vance was properly offered as a

   cybersecurity expert who could rebut Mr. O’Neil-Dunne’s presentation of the “benefits” provided

   by OTAs. See Dkt. No. 376 at 45–47. In the alternative, Ryanair argues that if the court regards

   Dr. Vance’s testimony as improper rebuttal, his testimony based on the report should be admitted

   even though the report may be viewed as untimely. Ryanair’s argument for admitting Dr. Vance’s

   testimony even if his report is regarded as belatedly produced, is based on the Third Circuit’s

   familiar five-factor test set forth in Meyers v. Pennypack Woods Home Ownership Association,

   559 F.2d 894, 904–05 (3d Cir. 1977) (“Pennypack”).

          In light of the ruling that much of Mr. O’Neil-Dunne’s report and proposed testimony is

   proper expert evidence regarding the defendants’ counterclaims, Dr. Vance may testify to relevant

   opinions rebutting Mr. O’Neil-Dunne. But the opinions in section VI.A of his report (that Mr.

   O’Neil-Dunne did not address the CFAA) and in section VI.C of the report (that the defendants

   use “technical hacks” to bypass various Shield endpoints and myRyanair), are not relevant rebuttal

   opinions, as they are not addressed to Mr. O’Neil-Dunne’s testimony and go to the question of

   unauthorized access. Those opinions are excluded, with the exception of Dr. Vance’s opinion that

   myRyanair is intended to prevent OTA bookings. That opinion may be introduced to rebut Mr.

   O’Neil-Dunne’s testimony that myRyanair is used primarily for personalization of customers for

   business purposes. Regarding Ryanair’s argument that such opinions are permissible even though



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   they are untimely, there is no need to evaluate the Pennypack factors that might allow the opinions

   to be admitted despite the untimeliness of the reports on which they are based, because the

   excluded opinions go to the legal question of authorization rather than to a fact question for the

   jury and therefore would be inadmissible even if they had been timely presented.

             Nonetheless, most of Dr. Vance’s opinions set forth in sections VI.B, VI.D, VI.E, and VI.F

   of his report are admissible because they “repel, counteract, or disprove” evidence on the same

   subject by the defendants’ expert. See Withrow, 967 F. Supp. 2d at 1001–02. To the extent that

   Mr. O’Neil-Dunne’s testifies regarding the benefits of OTAs and their practices, Dr. Vance can

   testify as to his opinions that address the harms caused by OTAs that Mr. O’Neil-Dunne did not

   consider.

             Section VI.B of Dr. Vance’s report addresses unauthorized and authorized access to the

   Ryanair website. The bulk of Dr. Vance’s criticisms rely on “authorization” as defined by a

   website’s terms of use or terms of service. Dr. Vance can testify to his opinions that address

   Ryanair’s terms of use to provide context for his opinions on the harms of OTAs. However, Dr.

   Vance must be clear that he is referring to a violation of the terms of use, not to the meaning of

   “authorization” under the CFAA. Dr. Vance may not testify regarding the opinion set forth in the

   paragraph of VI.B that discusses the CFAA, see Hemann Decl. Exh. 43 at 7. 42 To avoid confusion,

   Dr. Vance should testify regarding access contrary to the terms of use, rather than “unauthorized”

   access.




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              Dr. Vance repeatedly testified in his deposition that he was not offering an opinion on
   whether access is authorized or unauthorized under the CFAA but rather that he was using those
   terms as they are used in his field. See Mao Decl. Exh. 13 at 39:25–40:7; 47:15–21; 69:17–21.
   Dr. Vance’s reference to authorization creates the potential for confusion. That risk, however, is
   best addressed by requiring Dr. Vance to testify about access in violation of the terms of use or in
   violation of Ryanair’s cease-and-desist letters, rather than by referring to “unauthorized access.”
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           Sections VI.D, VI.E, and VI.F of Dr. Vance’s report address harms or costs associated with

   access by OTAs in violation of Ryanair’s terms of use. Testimony based on those sections of the

   report is admissible to rebut Mr. O’Neil-Dunne’s discussion of the benefits of OTAs. As part of

   Dr. Vance’s discussion of the harms caused by OTAs, his report discusses screen scraping and

   cites previous blog posts by Mr. O’Neil-Dunne that are critical of screen scraping. See id. at 14–

   19. The defendants argue that such testimony is not proper rebuttal because it does not respond to

   Mr. O’Neil-Dunne’s report, but instead responds to Mr. O’Neil-Dunne’s deposition, where he was

   asked about why he did not discuss the negative features of screen scraping despite having

   authored blog posts on that topic. See Dkt. No. 378 at 25 (citing DOCA Co. v. Westinghouse Elec.

   Co., LLC, No. 04-1951, 2011 WL 12896754, at *1 (W.D. Pa. Dec. 7, 2011) (“[T]he Federal Rules

   contemplate that the determination as to whether a rebuttal expert report is necessary be based on

   the opposing party's expert report – not the expert's deposition.”)). However, Mr. O’Neil-Dunne’s

   discussion of screen scraping appears in his opening report, not just in his deposition. See Hemann

   Decl. Exh. 39 § 7.2.1. For that reason, the discussion of screen scraping in Dr. Vance’s report is

   proper, including his reference to Mr. O’Neil-Dunne’s prior blog posts on that subject.

           Dr. Vance’s opinions discussed above are based on his cybersecurity experience. Given

   the overlap between the technical and business issues in this case (such as whether the purpose of

   myRyanair’s restrictions on screen scraping is primarily competitive or primarily serves a security

   purpose), Dr. Vance’s rebuttal is proper even though his expertise is not the same as Mr. O’Neil-

   Dunne’s. Mr. O’Neil-Dunne similarly discussed technical issues, such as screen scraping, as they

   relate to the travel industry.




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           Sections VII–XII of Dr. Vance’s report apply Dr. Vance’s criticisms developed in section

    VI to particular sections of Mr. O’Neil-Dunne’s report. Dr. Vance may testify based on the

    portions of his report that constitute permissible rebuttal testimony, as described above.

                       ii. Rule 702 and Daubert

           The defendants argue that Dr. Vance’s report does not satisfy the requirements of Rule 702

    and Daubert for three reasons. First, the defendants argue that Dr. Vance lacks specialized

    knowledge of the travel industry. As a result, they contend, the court should exclude Dr. Vance’s

    opinions (1) that Ryanair offers licenses on reasonable terms; (2) that “Ryanair has a very different

    business model compared to that of OTAs;” and (3) that inviting customers to personalize their

    myRyanair accounts does not make Ryanair a competitor of the OTAs. See Hemann Decl. Exh.

    43 at 5, 25. Ryanair responds that Dr. Vance’s opinion on licensing and competition between

    Ryanair and the OTAs do not require an expert. Ryanair also contends that Dr. Vance has expert

    knowledge of the travel business because he teaches at a business school and offered his opinions

    as an expert on that subject. See Hemann Decl. Exh, 10 45:14–19.

           Dr. Vance’s opinions regarding Ryanair’s licensing fee and whether Ryanair and the OTAs

    are competitors are excluded as falling outside the field of Dr. Vance’s expertise. Ryanair’s

    argument that such opinions do not require an expert cut against Ryanair, as they show that Dr.

    Vance’s opinions in this area are not based on specialized knowledge that would help the trier of

    fact understand the evidence or determine an issue of fact. See Fed. R. Evid. 702(a). Nor has

    Ryanair shown that Dr. Vance is an expert in the relevant field.

           Ryanair offered Dr. Vance as an expert in cybersecurity. In that capacity, he teaches at a

    business school and advises businesses on cybersecurity measures. See Hemann Decl. Exh. 43 at

    3. The only representation regarding his “business” expertise is found in a single exchange with



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    counsel at his deposition. Speaking about the harms of screen scraping, Dr. Vance testified that,

    “As a business professional, it’s incomplete to consider benefits without also considering costs.”

    He was then asked, “Are you opining in this case as a business professional expert?” to which he

    responded, “I’m a business professor, and so yes, I am.          I’m a business professor and a

    cybersecurity professor, and I think both views are relevant for my report.” Hemann Decl. Exh.

    10 at 45:11–19. That exchange is not sufficient to show that Dr. Vance has relevant expertise to

    offer the business-related opinions that he offered.

           Second, the defendants argue that Dr. Vance improperly relied on Ryanair’s allegations as

    true. See id. at 8 & n.16, 13 & n.35. Ryanair responds that Dr. Vance did not simply rely on

    Ryanair’s allegations, but considered numerous documents including interrogatories, produced

    documents, Mr. Lopata’s report, third-party resources. In addition, Dr. Vance relied on his own

    expertise. See id. at App’x B (listing documents Dr. Vance consulted).

           The defendants have not shown that Dr. Vance improperly relied on Ryanair’s allegations

    as true. The only references the defendants offer in support of that contention are the portions of

    Dr. Vance’s report at footnotes 16 and 35, along with the accompanying text. Footnote 16 is a

    citation to Ryanair’s cease-and-desist letters, which were attached to the complaint and which both

    parties agree the defendants received. Footnote 35 is a citation to a reference to myRyanair in the

    complaint, which is followed by citations to interrogatory responses and deposition testimony. As

    is evident in that footnote, Ryanair is correct that Dr. Vance did not simply rely on allegations in

    the complaint to form his opinions.

           Third, the defendants argue that Dr. Vance’s proposed testimony is improperly directed to

    (1) the meaning of authorization under the CFAA, see id. at 6–7, 21, 16 n.49; (2) the relevance of

    Mr. O’Neil-Dunne’s testimony, id. at 5–6, 21; and (3) the meaning of the contractual provision



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    setting forth Ryanair’s terms of use, id. at 7, 12, 14, 24. 43 Ryanair responds to only the first

    argument. In that response, Ryanair disputes that Dr. Vance offers a legal conclusion regarding

    authorization under the CFAA based on Dr. Vance’s representations in his deposition that he was

    referring to authorization as a security term, not a legal term. See Mao Decl. Exh. 13 at 39:25–

    40:7; 47:15–21; 51:25–52:2; 69:17–21; 176:6–25. As addressed previously, Dr. Vance’s opinions

    on “authorization” under the CFAA as well as the relevance of Mr. O’Neil-Dunne’s report will be

    excluded, which renders the first two issues moot.

              The remaining issue is whether Dr. Vance may offer his opinions that relate to the terms

    of use on the Ryanair website. At page 12 of his report, Dr. Vance stated that Ryanair is justified

    in taking action against OTAs that violate its terms of use. The terms of use are clear and do not

    require interpretation. The defendants’ argument that they do not violate Ryanair’s terms of use

    is based on their contention that they do not access the Ryanair website, either directly or

    vicariously. Dr. Vance will be allowed to testify that an OTA that accesses the Ryanair website to

    sell Ryanair flights without a license or to extract data for commercial purposes would violate

    Ryanair’s terms of use. It will be up to the jury to decide whether the defendants do so, if the jury

    concludes that question is relevant to any issue in the case..

                                               CONCLUSION
              In summary, the court’s rulings are as follows:

              1. Ryanair’s motion for summary judgment on Counts I and IV is denied.

              2. Ryanair’s motion for summary judgment dismissing Booking.com’s counterclaims is

    denied.



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             The defendants also include a criticism of Dr. Vance based on an expert report of his that
    was excluded in a different case. That criticism has no bearing on the motion to exclude his
    testimony in this case.
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               3. Ryanair’s motion to exclude the testimony of Mr. O’Neil-Dunne is denied.

               4. Ryanair’s motion to exclude the testimony of Ms. Kelly is granted in part and denied in

    part.

               5. Ryanair’s motion to exclude the testimony of Mr. Imburgia is granted in part and denied

    in part.

               6. The defendants’ motion for summary judgment on Ryanair’s claims under the CFAA is

    granted in part and denied in part.

               7. The defendants’ motion to exclude certain opinions of Mr. Lopata is granted in part and

    denied in part.

               8. The defendants’ motion to exclude the opinions of Mr. Vance is granted in part and

    denied in part.

                                                     ***

               The parties have filed all briefing on these motions and the supporting declarations under

    seal. Out of an abundance of caution, I have filed this order under seal. Within three days, the

    parties are directed to advise the court by jointly submitted letter if there are any portions of this

    order that should remain under seal and, if so, to explain why. An unsealed version of this order

    will be docketed after counsel’s letter is received.



               IT IS SO ORDERED.

               SIGNED this 17th day of June, 2024.




                                             ______________________________
                                             WILLIAM C. BRYSON
                                             UNITED STATES CIRCUIT JUDGE

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